 Case 17-30112        Doc 640    Filed 04/09/18 Entered 04/09/18 16:59:45      Desc Main
                                  Document     Page 1 of 69


                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NORTH DAKOTA


In Re:                                            Case No.: 17-30112

Vanity Shop of Grand Forks, Inc.,                 Chapter 11

                       Debtor.


  NOTICE OF FILING OF PROPOSED DISCLOSURE STATEMENT AND SECOND
               PLAN OF LIQUIDATION DATED APRIL 9, 2018


         PLEASE TAKE NOTICE that, on November 22, 2017, Vanity Shop of Grand Forks,

Inc. (the “Debtor”) in the above-captioned Chapter 11 case filed a Disclosure Statement with

Respect to the Chapter 11 Plan of Liquidation of Vanity Shop of Grand Forks, Inc. dated

November 22, 2017 (the “Disclosure Statement”) [Doc. 510] and Debtor’s Plan of

Liquidation dated November 22, 2017 (the “Plan”) [Doc. 511].

         PLEASE TAKE FURTHER NOTICE that a hearing to consider the approval of the

Disclosure Statement is scheduled for April 10, 2018 at 2:30 p.m. CST before the

Honorable Shon Hastings, at the United States Bankruptcy Court for the District of North

Dakota, Courtroom #3, Second Floor, Quentin N. Burdick United States Courthouse, 655

First Avenue North, Fargo, North Dakota, 58102.

         PLEASE TAKE FURTHER NOTICE that, attached hereto as Exhibit A is a

proposed Disclosure Statement with Respect to the Chapter 11 Plan of Liquidation of Vanity

Shop of Grand Forks, Inc. dated April 9, 2018 and attached hereto as Exhibit B is a proposed

Debtor’s Second Plan of Liquidation dated April 9, 2018 for the convenience of the Court

and all interested parties.
Case 17-30112    Doc 640    Filed 04/09/18 Entered 04/09/18 16:59:45   Desc Main
                             Document     Page 2 of 69


    Dated this 9th day of April, 2018.

                                         VOGEL LAW FIRM


                                    BY: /s/ Caren W. Stanley
                                        Jon R. Brakke (#03554)
                                        jbrakke@vogellaw.com
                                        Caren W. Stanley (#06100)
                                        cstanley@vogellaw.com
                                        218 NP Avenue
                                        PO Box 1389
                                        Fargo, ND 58107-1389
                                        Telephone: 701.237.6983
                                        COUNSEL TO DEBTOR IN POSSESSION
    3220470.1




                                          2
Case 17-30112    Doc 640    Filed 04/09/18 Entered 04/09/18 16:59:45    Desc Main
                             Document     Page 3 of 69


                                   EXHIBIT A

(Disclosure Statement with Respect to Chapter 11 Plan of Liquidation of Vanity Shop
                     of Grand Forks, Inc. dated April 9, 2018)
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45   Desc Main
                                     Document     Page 4 of 69


                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NORTH DAKOTA


In Re:                                               Case No.: 17-30112
                                                     Chapter 11
Vanity Shop of Grand Forks, Inc.,

                     Debtor.


 DISCLOSURE STATEMENT WITH RESPECT TO CHAPTER 11 PLAN OF LIQUIDATION
                 OF VANITY SHOP OF GRAND FORKS, INC.
                  DATED NOVEMBER 22APRIL 9, 20172018


                                          DISCLAIMER

THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT RELATES TO THE
CHAPTER 11 PLAN OF LIQUIDATION OF VANITY SHOP OF GRAND FORKS, INC., AND IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING ACCEPTANCES OF THE PLAN AND
MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN TO DETERMINE HOW TO
VOTE ON THE PLAN. NO PERSON MAY GIVE ANY INFORMATION OR MAKE ANY
REPRESENTATIONS, OTHER THAN THE INFORMATION AND REPRESENTATIONS
CONTAINED IN THIS DISCLOSURE STATEMENT, REGARDING THE PLAN OR THE
SOLICITATION OF ACCEPTANCES OF THE PLAN.

ALL CREDITORS ARE ADVISED AND ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN. PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE
STATEMENT ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE TO THE PLAN, OTHER
EXHIBITS ANNEXED OR REFERRED TO IN THE PLAN, AND THIS DISCLOSURE
STATEMENT. THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE
MADE ONLY AS OF THE DATE HEREOF, AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER THE DATE
HEREOF.

THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH SECTION
1125 OF THE BANKRUPTCY CODE AND RULE 3016(C) OF THE FEDERAL RULES OF
BANKRUPTCY PROCEDURE AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER LAWS GOVERNING DISCLOSURE OUTSIDE THE
CONTEXT OF CHAPTER 11.

AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER ACTIONS OR
THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT CONSTITUTE OR BE
CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY, STIPULATION, OR WAIVER,
BUT RATHER AS A STATEMENT MADE IN SETTLEMENT NEGOTIATIONS. THIS
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45          Desc Main
                                     Document     Page 5 of 69


DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY
PROCEEDING NOR SHALL IT BE CONSTRUED TO BE CONCLUSIVE ADVICE ON THE TAX,
SECURITIES, OR OTHER LEGAL EFFECTS OF THE PLAN AS TO HOLDERS OF CLAIMS
AGAINST, OR EQUITY INTERESTS IN, THE DEBTOR.

THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN PROVISIONS OF THE PLAN,
STATUTORY PROVISIONS, DOCUMENTS RELATED TO THE PLAN, EVENTS IN THE
CHAPTER 11 CASE OF THE DEBTOR, AND FINANCIAL INFORMATION. THE DEBTOR IS
SOLELY RESPONSIBLE FOR ALL STATEMENTS IN THIS DISCLOSURE STATEMENT. THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS BEEN PROVIDED BY
THE DEBTOR UNLESS OTHERWISE NOTED. ALTHOUGH THE DEBTOR BELIEVES THAT
THE PLAN AND RELATED DOCUMENT SUMMARIES ARE FAIR AND ACCURATE, SUCH
INFORMATION IS QUALIFIED TO THE EXTENT THAT IT DOES NOT SET FORTH THE
ENTIRE TEXT OF THE PLAN, SUCH DOCUMENTS OR ANY STATUTORY PROVISIONS THAT
MAY BE REFERENCED THEREIN. THE DEBTOR BELIEVES THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT, BUT MAKES NO REPRESENTATION WITH RESPECT TO
ITS ACCURACY OR COMPLETENESS.

1.     INTRODUCTION

       1.1    Purpose of Disclosure Statement.

       Vanity Shop of Grand Forks, Inc. (“Debtor”) provides this Disclosure Statement (the
“Disclosure Statement”) to the Office of the United States Trustee and to all of the Debtor’s known
Claimholders and Interestholders pursuant to section 1125(b) of Title 11 of the United States Code
(the “Bankruptcy Code”) for the purpose of soliciting acceptances of the Chapter 11 Plan of
Liquidation of Vanity Shop of Grand Forks, Inc. (the “Plan”), which has been filed with the United
States Bankruptcy Court for the District of North Dakota (the “Bankruptcy Court”). By Order
dated __________, 2018, the Disclosure Statement was approved by the Bankruptcy Court as
containing “adequate information” under section 1125 of the Bankruptcy Code.

       The Debtor strongly urges you to read this Disclosure Statement because it contains a
summary of the Plan and important information concerning the Debtor’s history and operations. The
Disclosure Statement also provides information as to alternatives to the Plan. A copy of the Plan
accompanies this Disclosure Statement as a separate document.

     PLEASE NOTE THAT MUCH OF THE INFORMATION CONTAINED HEREIN HAS
BEEN TAKEN, IN WHOLE OR IN PART, FROM INFORMATION CONTAINED IN THE
DEBTOR’S BOOKS AND RECORDS AND FROM MOTIONS AND OTHER PAPERS FILED
WITH THE BANKRUPTCY COURT BY THE DEBTOR AND OTHER PARTIES-IN-
INTEREST. ALTHOUGH THE DEBTOR HAS ATTEMPTED TO BE ACCURATE IN ALL
MATERIAL RESPECTS, IT IS UNABLE TO WARRANT OR REPRESENT THAT ALL OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS WITHOUT ERROR.

       Unless otherwise defined herein, capitalized terms contained in this Disclosure Statement shall
have the same meanings as ascribed to them in the Plan. All capitalized terms used in this Disclosure
Statement and not defined herein or in the Plan, but that are defined in the Bankruptcy Code, shall


                                                  2
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                      Document     Page 6 of 69


have the respective meanings ascribed to them in the Bankruptcy Code. All capitalized terms used in
this Disclosure Statement and not defined herein, in the Plan or in the Bankruptcy Code, but that
are defined in the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules” or
“Bankruptcy Rule”), shall have the respective meanings ascribed to them in the Bankruptcy
Rules. Holders of Claims or Interests receiving this Disclosure Statement should carefully review the
Plan in conjunction with their review of this Disclosure Statement.

              PLEASE REVIEW THE PLAN IN ITS ENTIRETY IN DETAIL.

NO REPRESENTATION CONCERNING THE DEBTOR OR THE VALUE OF ITS ASSETS
HAS BEEN AUTHORIZED BY THE BANKRUPTCY COURT OTHER THAN AS SET
FORTH IN THIS DISCLOSURE STATEMENT OR ANY OTHER DISCLOSURE
STATEMENT APPROVED BY THE BANKRUPTCY COURT. THE DEBTOR IS NOT
RESPONSIBLE FOR ANY INFORMATION, REPRESENTATION OR INDUCEMENT
MADE TO OBTAIN YOUR ACCEPTANCE, WHICH IS OTHER THAN, OR
INCONSISTENT WITH, INFORMATION CONTAINED HEREIN AND IN THE PLAN.

        The purpose of this Disclosure Statement is to provide Claimholders and Interestholders, to the
extent they are entitled to vote, with information determined by the Bankruptcy Court to be adequate
to enable them to make an informed decision to vote to accept or reject the Plan.

       1.2    Brief Summary of the Plan

        As described in more detail in this Disclosure Statement, during the course of the Debtor’s
 bankruptcy case, the Debtor sold substantially all of its remaining E s t a t e Assets, which included
 the Debtor’s intellectual property and related assets and remaining inventory. The net proceeds
 received by the Debtor upon the sale of substantially all of its remaining E s t a t e Assets were
 used to indefeasibly pay Wells Fargo Bank, NA (first position secured creditor) in full. The
 remaining proceeds of the sales of the Debtor’s Revested Assets and the collection and liquidation of
 remaining Re ve s t e d Assets of the Debtor will be used to make payments to holders of Allowed
 Claims in the order of priority under section 507 of the Bankruptcy Code, including Allowed
 Administrative Claims (including Professional Fee Claims and Priority Tax Claims), Allowed Claims
 in Class 2 (i.e., 50% of the Face Value as settlement in full of the Class 2 Allowed Claims) and Pro
 Rata Distributions to Allowed Claims in Class 3 and Class 4.

       1.3    Confirmation of Plan.

               1.3.1 Requirements. The requirements for Confirmation of the Plan are set forth in
detail in section 1129 of the Bankruptcy Code. The following summarizes some of the pertinent
requirements:

                       (a)     Acceptance by Impaired Classes. Except to the extent that the cramdown
provisions of section 1129(b) of the Bankruptcy Code may be invoked, each Class of Claims must either
vote to accept the Plan or be deemed to accept the Plan because the Claims or Interests of such Class are
not Impaired.




                                                   3
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                      Document     Page 7 of 69


                     (b)     Feasibility. The Bankruptcy Court is required to find that the Plan is
likely to be implemented and that parties required to perform or pay monies under the Plan will be able
to do so.

                        (c)     “Best Interest” Test. The Bankruptcy Court must find that the Plan is in
the “best interest” of all Claimholders. To satisfy this requirement, the Bankruptcy Court must determine
that each holder of a Claim against the Debtor: (i) has accepted the Plan; or (ii) will receive or retain
under the Plan money or other property which, as of the Effective Date, has a value not less than the
amount such holder would receive if the Debtor’s property was liquidated under Chapter 7 of the
Bankruptcy Code on such date.

                       (d)     “Cramdown” Provisions. Under the circumstances which are set forth in
detail in section 1129(b) of the Bankruptcy Code, the Bankruptcy Court may confirm the Plan even
though a Class of Claims or Interests has not accepted the Plan, so long as one Impaired Class of Claims
has accepted the Plan, excluding the votes of Statutory Insiders (as defined in the Bankruptcy Code), if
the Plan is fair and equitable and does not discriminate unfairly against such non-accepting Classes. The
Debtor will invoke the “cramdown” provisions of section 1129(b) of the Bankruptcy Code as to holders
of Equity Interests since under the Plan, the Class in which Equity Interests reside are deemed to have
rejected the Plan. Should any voting Class fail to accept the Plan, the Debtor will also invoke the
“cramdown” provision as to such Class.

              1.3.2 Procedure. To confirm the Plan, the Bankruptcy Court must hold a hearing to
determine whether the Plan meets the requirements of section 1129 of the Bankruptcy Code (the
“Confirmation Hearing”). The Bankruptcy Court has set ______________, 2018 at [•] [•].m. CST, for
the Confirmation Hearing.

               1.3.3 Objection to Confirmation. Any party-in-interest may object to Confirmation of
the Plan and appear at the Confirmation Hearing to pursue such objection. The Bankruptcy Court has set
______________, 2018 at [•] [•].m. CST, as the deadline for filing and serving upon Debtor’s counsel,
the United States Trustee’s Office, and counsel to the Creditors’ Committee objections to Confirmation
of the Plan. Objections to Confirmation must be filed with the Bankruptcy Court at the following
address:

       U.S. Bankruptcy Court for the District of North Dakota
       655 1st Avenue North, #210
       Fargo, ND 58102

with a copy served upon counsel to the Debtor:

       Jon R. Brakke
       Caren W. Stanley
       Vogel Law Firm
       218 NP Avenue
       PO Box 1389
       Fargo, ND 58107-1389




                                                   4
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document     Page 8 of 69


and a copy served upon the Office of the United States Trustee:

       United States Trustee
       Suite 1015 U.S. Courthouse
       300 South Fourth Street
       Minneapolis, MN 55415

and a copy served upon counsel to the Creditors’ Committee:

       Mette Kurth
       Fox Rothschild LLP
       1800 Century Park East
       Suite 300
       Los Angeles, CA 90067-1506


               1.3.4 Effect of Confirmation. Except as otherwise provided in the Plan or in the
Confirmation Order, upon the Effective Date, all right, title, and interest of the Debtor and the Estate
in and to all Revested Assets shall irrevocably vest in the Liquidating Debtor for purposes of
administration of the Plan by the Plan Administrator. The Plan provides for the wind down of the
Debtor’s affairs, continued liquidation and conversion of all of the Debtor’s remaining assets to cash
and the distribution of the net proceeds realized therefrom, in addition to c ash on hand on the
Effective Date of the Plan, to creditors holding Allowed Claims as of the Record Date in accordance
with the relative priorities established in the Bankruptcy Code. The Plan does not provide for a
distribution to holders of Equity Interests, and their votes are not being solicited. The Plan
contemplates the appointment of a Plan Administrator to, among other things, finalize the wind
down of the Debtor’s affairs, resolve Disputed Claims, pursue any unreleased Causes of Action,
Avoidance Actions and Preserved Claims, implement the terms of the Plan and make
Distributions to holders of Allowed Claims. The Plan also contemplates the appointment of a
Special Counsel to, among other things, resolve Statutory Insider Claims and any Causes of Action that
may be asserted against Statutory Insiders. Confirmation serves to make the Plan binding upon the
Debtor, all Creditors, Interestholders and other parties-in-interest, regardless of whether they cast a
ballot (“Ballot”) to accept or reject the Plan.

       1.4    Voting on the Plan.

               1.4.1 Impaired Claims or Equity Interest. Pursuant to section 1126 of the Bankruptcy
Code, only the holders of Claims in Classes “Impaired” by the Plan and receiving distributions or other
treatment under the Plan may vote on the Plan. Pursuant to section 1124 of the Bankruptcy Code, a
Class of Claims may be “Impaired” if the Plan alters the legal, equitable or contractual rights of the
holders of such Claims or Equity Interests treated in such Class. Claimholders not Impaired by the Plan
are deemed to accept the Plan and do not have the right to vote on the Plan.

The Claimholders in any Class that will not receive any payment or distribution or retain any
property pursuant to the Plan are deemed to reject the Plan and do not have the right to vote.




                                                   5
     Case 17-30112          Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                       Document     Page 9 of 69


                1.4.2 Eligibility. In order to vote on the Plan, a Claimholders must have timely filed or
been assigned a timely filed proof of Claim, unless its Claim is scheduled by the Debtor and is not
identified as disputed, unliquidated or contingent on the Debtor’s Schedules of Assets and Liabilities
(the “Schedules”). Claimholders having a Claim in more than one Class may vote in each Class in
which they hold a separate Claim by casting a Ballot in each Class.

               1.4.3 Binding Effect. Whether a Claimholder votes on the Plan or not, such Person will
be bound by the terms of the Plan if the Plan is confirmed by the Bankruptcy Court. Absent some
affirmative act constituting a vote, a Claimholder will not be included in the vote: (i) for purposes of
accepting or rejecting the Plan; or (ii) for purposes of determining the number of Persons voting on the
Plan.

                1.4.4 Procedure. Members of Classes 2, 3, and 4 may vote to accept or reject the Plan.
Class 1 is not Impaired by the Plan and is deemed, therefore, to accept the Plan. Class 5 is Impaired by
the Plan and is deemed to have rejected the Plan because the Equity Interests in Class 5 will receive no
distributions under the Plan. In order for your vote to count, you must complete, date, sign and properly
mail the enclosed Ballot (please note that envelopes have been included with the Ballot) to:

               Vanity Shop Ballot Processing Center
               C/O KCC
               2335 Alaska Ave.
               El Segundo, CA 90245

       Pursuant to Bankruptcy Rule 3017, the Bankruptcy Court has ordered that original Ballots for the
acceptance or rejection of the Plan must be received by mail or overnight delivery by Kurtzman Carson
Consultants (the “Balloting Agent”) at the address set forth above on or before 4:00 p.m. CST on
______________, 2018 (the “Voting Deadline”). Once you have delivered your Ballot, you may not
change your vote, except for cause shown to the Bankruptcy Court after notice and hearing.

       The following types of Ballots will not be counted in determining whether the Plan has been
accepted or rejected:

                      (i)      any Ballot received after the Voting Deadline;

                        (ii)   any Ballot that is illegible or contains insufficient information to permit
the identification of the claimant;

                         (iii) any Ballot cast by a person or entity that does not hold a Claim in a class
that is entitled to vote to accept or reject the Plan;

                       (iv)   any Ballot cast for a Claim identified in the Schedules as unliquidated,
contingent, or disputed for which no proof of claim was timely filed;

                      (v)   any Ballot cast for a Claim for which an objection or request for
estimation has been filed on or before the Solicitation Date as set forth in the Order approving the
Disclosure Statement;

                      (vi)     any unsigned Ballot or Ballot that does not contain an original signature;


                                                     6
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                    Document      Page 10 of 69


                        (vii) any Ballot transmitted to the Balloting Agent by facsimile or other means
not specifically approved in the Order approving the Disclosure Statement; any Ballot that is otherwise
properly completed, executed, and timely returned, but does not indicate a vote to accept or reject the
Plan or that indicates a vote to both accept and reject the Plan.

The following types of Ballots will be counted in determining whether the Plan has been accepted or
rejected: whenever a creditor casts more than one Ballot voting the same Claim(s) before the Voting
Deadline, the last Ballot received before the Voting Deadline shall be deemed to reflect the voter’s
intent, and thus, to supersede any prior Ballots.

       1.5    Acceptance of the Plan.

               1.5.1 Claimholder Acceptance. As a Claimholder, your acceptance of the Plan is
important. In order for the Plan to be accepted by an Impaired Class of Claims, a majority in number and
two-thirds in dollar amount of the Claims voting (of each Impaired Class of Claims) must vote to accept
the Plan, or the Plan must qualify for “cramdown” of any non-accepting Class pursuant to section
1129(b) of the Bankruptcy Code. At least one impaired Class of Creditors, excluding the votes of
Statutory Insiders, must actually vote to accept the Plan. You are urged to complete, date, sign and
promptly mail the enclosed Ballot. Please be sure to complete the Ballot properly and legibly identify
the exact amount of your Claim and the name of the Claimholder.

               1.5.2 Cramdown Election. If all Classes do not accept the Plan, but at least one
Impaired Class votes to accept the Plan, excluding the votes of Statutory Insiders, the Debtor may
attempt to invoke the “cramdown” provisions of the Bankruptcy Code. Cramdown may be an available
remedy, because the Debtor believes that, with respect to each Impaired Class, the Plan is fair and
equitable within the meaning of section 1129(b)(2) of the Bankruptcy Code and does not discriminate
unfairly.

       1.6     Sources of Information. The information contained in this Disclosure Statement has
been obtained from the Debtor’s books and records and from motions and other papers filed with the
Bankruptcy Court by the Debtor and other parties-in-interest. Every reasonable effort has been made to
present accurate information and such information is believed to be correct as of the date hereof. Any
value given as to the Estate Assets of the Debtor is based upon an estimation of such value. You are
strongly urged to consult with your financial and legal advisors to understand fully the Plan and
Disclosure Statement.

       The financial information contained in this Disclosure Statement is given as of the date
hereof, unless otherwise specified. The delivery of this Disclosure Statement does not, under any
circumstance, imply that there has been no change in the facts set forth herein since such date. This
Disclosure Statement is intended, among other things, to summarize the Plan and must be read in
conjunction with the Plan and its exhibits. If any conflicts exist between the Plan and Disclosure
Statement, the terms of the Plan shall control.

       1.7    Additional Information.

        Should you have any questions regarding the Plan or this Disclosure Statement, or require
clarification of any information presented herein, please contact:



                                                   7
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 11 of 69


       Jon R. Brakke
       Caren W. Stanley
       218 NP Avenue
       PO Box 1389
       Fargo, ND 58107-1389
       701.237.6389
       jbrakke@vogellaw.com
       cstanley@vogellaw.com


2.     THE DEBTOR

       2.1    Description of the Debtor.

       On March 1, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief under
Chapter 11 of the Bankruptcy Code in the Bankruptcy Court. The Debtor is authorized to operate its
business and manage its properties as a debtor-in-possession pursuant to sections 1107(a) and 1108 of
the Bankruptcy Code.

        Founded in 1966, Debtor is a North Dakota corporation headquartered in Fargo, North Dakota.
Debtor opened its doors in 1969 and operated as a regional specialty retailer of casual apparel and
accessories for fashion-conscious young women. Debtor owned and sold its own line of private-label
goods, including private-label branded denim in approximately 137 mall-based stores spanning
27 states. Debtor’s fashions were also available through www.vanity.com, which was launched in 2008.
Debtor sourced reasonably priced fashion apparel and accessories from U.S.-based suppliers and
overseas manufacturers. At least 60% of Debtor’s inventory originated with U.S. suppliers. Ecommerce
products were distributed from a building located one mile from Debtor’s headquarters. Debtor
employed 274 full-time and 1,049 part-time employees as of the Petition Date. Debtor’s total sales in the
year ending December 2016 were approximately $80 million.

       2.2    The Debtor’s Operations and Financial Difficulties.

               2.2.1 Corporate Structure. Shazzam! Inc., Debtor’s parent holding company, owns
100% of Debtor’s stock. Shazzam! Inc.’s only asset is Debtor’s stock. The ownership of Shazzam!, Inc.
is as follows:

              47.385% Teresa Bottrell
              14.184% James Bennett
              14.184% Marnie Kimbrough
              11.25% C. Anderson-Bottrell
              8.001% Lowell Bottrell
              3.745% Stephen J. Anderson
              1.251% Stephen J. Anderson IRA

All administrative and management services for the Debtor including human resources administration,
accounting/bookkeeping, marketing, IT support, product sourcing and design, training of store




                                                   8
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 12 of 69


employees, etc. were provided by Vanity, Inc., a North Dakota corporation formed in 1997. Vanity, Inc.
had 88 full-time and 16 part-time employees as of the Petition Date.

               2.2.2   The Debtor’s Debt Structure.

        As of the Petition Date, Debtor had secured obligations owing to Wells Fargo Bank, N.A.
(“Wells Fargo”) in the aggregate principal amount of approximately $4,307,869 plus accrued and
unpaid interest with respect thererto, fees, costs, and other expenses. The Debtor had granted security
interests in, and liens on, all or substantially all of its assets to secure its obligations to Wells Fargo.

       Additionally, TGC, L.P. (“TGC, LP”), a Montana limited partnership, which has common
ownership with the owners identified above of Shazzam!, Inc. (i.e., Teresa Bottrell, James Bennett, and
Marnie Kimbrough), had loaned approximately $5,000,000 to Debtor since 2013 to allow the Debtor to
continue operating. Debtor initially Scheduled the claim of TGC, LP as secured. However, TGC, LP has
acknowledged its claim is unsecured due to the filing of its UCC-1 financing statement within the 90-
days before the Petition Date. TGC, LP has filed an unsecured claim in the sum of $5,248,774 (proof of
claim # 281).

               2.2.3   Events Leading to the Filing.

        The Debtor incurred operational losses stemming from, among other things, expensive lease
obligations, underperforming retail locations, and increased competition in the women’s fashion retail
industry on a broad scale. Moreover, the continued growth of online competitors and decline in mall
traffic has consistently challenged the Debtor’s ability to operate on a sustained profitable basis. The
Debtor, after consultation with key constituents, determined that commencing store closing sales and
liquidating all assets provided the best opportunity to maximize value of the Debtor’s Estate for the
benefit of its creditors and all interested parties.

       2.3     The Debtor’s Bankruptcy Proceedings.

               2.3.1 Employment of Professionals. The Debtor requested and obtained the authority
to employ the following professionals: i) Vogel Law Firm as attorneys for Debtor; (ii) Eide Bailly, LLP
as accountant; (iii) Brady Martz and Associates, P.C. as accountant; (iv) Jill Motschenbacher,
accountant; (v) Hilco IP Services d/b/a Hilco Streambank as Intellectual Property Disposition
Consultant; (vi) Diamond B Technology Solutions, LLC as IT Consultant; (vii) Eide Bailly, LLP as
Auditor for ERISA Plan; (viii) Bell Bank as Designated Trustee for ERISA Plan.

               2.3.2 Debtor’s Use of Cash Collateral. As part of the First Day Motions, Debtor and
Wells Fargo entered into a stipulation governing the consensual use of cash collateral on a postpetition
basis to allow the Debtor to conduct store closing sales. The Bankruptcy Court approved the stipulation
allowing the Debtor to use cash collateral and Wells Fargo was paid off within the first three weeks of
the Debtor’s bankruptcy case. TGC, LP consented to the use of cash collateral without restriction.

               2.3.3 The Creditors’ Committee. On March 10, 2017, the Office of the United States
Trustee appointed an official committee of the Debtor’s unsecured creditors (the “Creditors’
Committee”) pursuant to section 1102(a) of the Bankruptcy Code. The Creditors’ Committee consists of
five of the Debtor’s largest unsecured creditors: Washington Prime Group, Inc., GGP Limited
Partnership, Simon Property Group, Inc., Cavalini, Inc. and Anfield Apparel Group, Inc.


                                                     9
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 13 of 69


     The Creditors’ Committee retained Fox Rothschild, LLP as lead counsel, and BGA
Management, LLC d/b/a Alliance Management, Inc. as Financial Advisor.

                2.3.4 The Sale of Substantially All of the Remaining Estate Assets. The Debtor
determined the best method to realize value for the Estate was to conduct store closing sales at all of its
locations and liquidate its remaining inventory and fixtures on an expedited basis.

        On March 23, 2017, the Bankruptcy Court entered the Final Order: (I) Authorizing the Debtor to
Assume the Consulting Agreement, (II) Authorizing and Approving the Conduct of Store Closing Sales,
with Such Sales to be Free and Clear of All Liens, Claims and Encumbrances, and Granting Related
Relief (the “Store Closing Order”) [Doc. 172]. Pursuant to the Store Closing Order, the Debtor retained
Tiger Capital Group, LLC to assist with conducting store closing sales at all 137 stores. By April 14,
2017, all of Debtor’s inventory and fixtures were liquidated and the stores were closed and premises
returned to the applicable landlord. Wells Fargo, the secured lender, was paid off, and the net proceeds
from the store closing sales (in excess of $7M) is available for payment of administrative expenses and
Claims.

        The Debtor also retained Hilco Streambank as its Intellectual Property Disposition Consultant to
assist with the sale of the Debtor’s intellectual property assets including domain names, trademarks, and
customer data (the “IP Assets”). An auction of the Debtor’s IP Assets was conducted on October 25,
2017 and two subsets of IP Assets were purchased at the auction by Westerdal Corp., and Vanity Brands
LLC for the total purchase prices of $340,000 and $137,500, respectively. The two sales of the Debtor’s
IP Assets closed on or about November 21, 2017.

               2.3.5 Schedules and Bar Date. On March 27, 2017, the Debtor filed its schedules of
assets and liabilities and statement of financial affairs. The Court established July 3, 2017 as the Bar
Date for prepetition creditors and governmental units to file proofs of claim.

3.     SUMMARY OF THE PLAN OF LIQUIDATION

     THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE AND MEANS FOR
IMPLEMENTING THE PLAN AND OF THE CLASSIFICATION AND TREATMENT OF CLAIMS
AND EQUITY INTERESTS UNDER THE PLAN, AND IS QUALIFIED IN ITS ENTIRETY BY
REFERENCE TO THE PLAN, WHICH ACCOMPANIES THIS DISCLOSURE STATEMENT AND
TO THE EXHIBITS ATTACHED THERETO.

     THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT INCLUDE
SUMMARIES OF THE PROVISIONS CONTAINED IN THE PLAN AND IN DOCUMENTS
REFERRED TO THEREIN. THE STATEMENTS CONTAINED IN THIS DISCLOSURE
STATEMENT DO NOT PURPORT TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE
TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO THEREIN, AND
REFERENCE IS MADE TO THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND
COMPLETE STATEMENTS OF SUCH TERMS AND PROVISIONS.

     THE PLAN ITSELF AND THE DOCUMENTS REFERRED TO THEREIN CONTROL THE
ACTUAL TREATMENT OF CLAIMS AGAINST AND INTERESTS IN THE DEBTOR UNDER
THE PLAN AND WILL, UPON THE EFFECTIVE DATE, BE BINDING UPON HOLDERS OF



                                                    10
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                                      Document      Page 14 of 69


CLAIMS AGAINST AND EQUITY INTERESTS IN THE DEBTOR AND OTHER PARTIES IN
INTEREST.

       3.1     In General.

       The Plan is proposed by the Debtor. The Allowed Claims of Claimholders will be paid in
accordance with priorities set forth in the Bankruptcy Code, a structure that the Debtor believes will
produce a fundamentally equitable outcome for all creditors.

                3.1.1 Estate Assets. On the Effective Date, the Debtor’s Estate Assets not sold pursuant
to the store closing sales or the IP Asset sales and/or not distributed pursuant to other provisions of the
Plan or Orders of the Bankruptcy Court shall be deemed Revested Assets, and administered by the Plan
Administrator pursuant to the Plan.

               3.1.2 Plan Administrator. As of the Effective Date, the Plan Administrator shall be
vested with full legal power, capacity and authority, and shall be directed to administer, collect and
liquidate the Debtor’s Revested Assets and to implement the Plan. The Plan Administrator will be Mr.
David Velde, an attorney with Velde Moore, LTD, 1118 Broadway, Alexandria, MN 56308. Mr. Velde
has served as a Chapter 7 United States Bankruptcy Trustee since 1998.

               3.1.3 Causes of Action, Preserved Claims, and Avoidance Actions. Subject to the
provisions of the Plan, the Plan Administrator may, but is not required to, pursue any Causes of Action,
Preserved Claims, and Avoidance Actions not otherwise released under the Plan, or other order of the
Bankruptcy Court by informal demand and/or by commencing litigation.

               3.1.4 Statutory Insider Claims and Causes of Action. Subject to the provisions of the
Plan, the Plan Administrator shall retain Special Counsel to analyze, object to, and/or prosecute the
Claims of Statutory Insiders and possible Causes of Action against Statutory Insiders.

       Statutory Insider Claims include but are not limited to the unsecured Claims of TGC, LP filed as
proof of claim number 281 ($5,248,777.43), Sales Floor Live, LLC filed as proof of claim numbers 284
and 303 (totaling $12,255.70), Diamond B Technology Solutions, LLC filed as proof of claim numbers
280 and 299 (totaling $7,932.25), and Bottrell Family Investments, LP filed as proof of claim numbers
285 and 304 (totaling $193,994.57).

        The Debtor anticipates that Administrative Claims will be filed by Statutory Insiders including
Bottrell Family Investments, LP, Sales Floor Live, LLC, and Diamond B Technology Solutions, LLC in
the approximate total amount of $223,000.

        The Creditors’ Committee has indicated possible Causes of Action that may be asserted against
the Statutory Insiders include: i) recharacterizing the debt owed to TGC, LP as equity or alternatively
that it be subordinated to all other unsecured creditors, ii) violations of fiduciary duty by Vanity, Inc.
and directors, officers, and shareholders, iii) fraudulent transfers to Statutory Insiders; and iv) avoidable
transfers to Statutory Insiders.

       3.2     Classification of Claims and Interests.




                                                     11
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                                      Document      Page 15 of 69


              3.2.1 Class 1. Class 1 consists of the Wells Fargo secured claim. Class 1 is deemed
unimpaired by the Plan.

               3.2.2 Class 2. Class 2 consists of general unsecured Claims with a Face Amount less
than $1,500.00, including unsecured creditors with claims in excess of $1,500.00 that elect to reduce
their Claim to $1,500.00 and be treated as a Class 2 creditor. Class 2 is impaired by the Plan.

              3.2.3 Class 3. Class 3 consists of general unsecured Claims that are Allowed as of the
Record Date. Class 3 is impaired by the Plan.

              3.2.4 Class 4. Class 4 consists of general unsecured Claims that are Disputed as of the
Record Date. Class 4 is impaired by the Plan.

               3.2.5   Class 5. Class 5 consists of all Equity Interests. Class 5 is impaired by the Plan.

       3.3     Treatment of Claims and Interests.

                3.3.1 Class 1 (Wells Fargo Secured Claim). Wells Fargo was indefeasibly paid in full
as of the date of the Disclosure Statement. Wells Fargo has no further Claim against the Debtor and will
not receive any Distributions under the Plan.

               3.3.2 Class 2 (Convenience – Unsecured Claims). This class shall consist of unsecured
Allowed Claims not entitled to priority where the total of the unsecured Allowed Claim does not exceed
$1,500.00. Any unsecured creditor whose claim exceeds $1,500.00 may elect by voting on the Plan to be
treated as a Class 2 Convenience Class creditor by electing to reduce their Claim to $1,500.00. The
holders of Class 2 Allowed Claims will be paid a total of 50% of their Allowed Claims as soon as
reasonably practicable after the Effective Date. Such payments shall be in full satisfaction of each Class
2 Allowed Claim. The Debtor estimates that there are approximately $105,000 in Allowed Claims in
Class 2.

                3.3.3 Class 3 (Effective Date Unsecured Claims). Except to the extent that a holder of
a Class 3 Allowed Claim agrees to a less favorable treatment, each holder of a Class 3 Allowed Claim
shall receive its Pro Rata share of the First Interim Distribution after payment in full of (or reserve for)
Plan Administration Expenses, all Allowed Administrative Claims as set forth in Article IV above
(including Professional Fee Claims, Administrative Tax Claims, and Priority Tax Claims), Allowed
Claims in Class 2, and the Claims Reserve. Subsequent Distributions on Class 3 Allowed Claims shall
be made as soon as reasonably practicable after the Effective Date and after the reconciliation of all
Class 4 Claims, unless the Plan Administrator, in its sole discretion, determines that an earlier
Distribution is practicable consistent with the Plan. Such Distributions shall be in full satisfaction of
each Class 3 Allowed Claim with the effective date of the satisfaction being the Final Distribution Date.
The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata based on the aggregate
Face Amount of all Allowed Claims in both classes.

              3.3.4 Class 4 (Post-Effective Date Unsecured Claims). Except to the extent that a
holder of a Class 4 Claim agrees to a less favorable treatment, each holder of a Class 4 Claim that
becomes an Allowed Claim shall receive its Pro Rata share of the Subsequent Interim Distributions after
payment in full of (or reserve for) Plan Administration Expenses, all Allowed Administrative Claims as
set forth in Article IV above (including Professional Fee Claims, Administrative Tax Claims, and


                                                    12
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 16 of 69


Priority Tax Claims), Allowed Claims in Class 2, and the First Interim Distribution on Class 3 Claims.
Distributions on Class 4 Allowed Claims shall be made as soon as reasonably practicable after the
Effective Date and after the reconciliation of all Class 4 Claims, unless the Plan Administrator, in its
sole discretion, determines that an earlier Distribution is practicable consistent with the Plan. Such
Distributions shall be in full satisfaction of each Class 4 Allowed Claim with the effective date of the
satisfaction being the Final Distribution Date. The holders of Allowed Claims in Class 3 and Class 4
shall be paid Pro Rata based on the aggregate Face Amount of all Allowed Claims in both classes. For
avoidance of doubt, all Class 4 Claims are considered Disputed Claims.

               3.3.5 Class 5 (Equity Interests). The holders of Equity Interests in Class 5 shall have
their Equity Interests against the Debtor extinguished as of the Effective Date and shall receive no
Distributions under this Plan.

       3.4     Treatment of Unclassified Claims.

               3.4.1   Administrative Claims - Professional Claims.

                       (a)    Final Professional Fee Applications. All final requests for payment of
Professional Fee Claims pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b), or 1103
must be made by application filed with the Bankruptcy Court and served on counsel to the Debtor,
counsel to the Creditors’ Committee, counsel to the Plan Administrator, and the U.S. Trustee no later
than the first Business Day that is thirty (30) calendar days after the Effective Date, unless otherwise
ordered by the Bankruptcy Court (the "Administrative Claim Bar Date"). Objections to such
applications must be filed and served on counsel to the Debtor, counsel to the Creditors’ Committee,
counsel to the Plan Administrator, the U.S. Trustee, and the requesting Professional on or before the date
that is twenty-one (21) calendar days after the date on which the applicable application was served (or
such longer period as may be allowed by order of the Bankruptcy Court or by agreement with the
requesting Professional). Any Professional Fee Claim not timely filed and asserted will be forever
barred and discharged.

                      (b)     Payment of Professional Fee Claims. All Professional Fee Claims shall
be paid by the Plan Administrator to the extent approved by order of the Bankruptcy Court within five
(5) Business Days after entry of such order.

                       (c)    Post-Effective Date Services. After the Effective Date, any requirement
that Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate. The Plan Administrator shall pay any
Professionals for Post-Effective Date services requested by the Plan Administrator.

               3.4.2 Administrative Claims – Administrative Tax Claims under 503(b)(1)(B) and (C)
of the Bankruptcy Code. Allowed Administrative Claims under section 503(b)(1)(B) and (C) of the
Bankruptcy Code shall be paid in full by the Plan Administrator as soon as reasonably practicable after
the Effective Date.

              3.4.3 Priority Tax Claims. In full satisfaction, settlement, and release of and in
exchange for such Claims, Allowed Priority Tax Claims shall be paid by the Plan Administrator, at the
Plan Administrator’s option, as follows: (a) cash funds equal to the unpaid portion of the Face Amount
of such Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) calendar days

                                                   13
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 17 of 69


following the date on which such Priority Tax Claim becomes an Allowed Priority Tax Claim; or
(b) such other treatment as to which the holder of an Allowed Priority Tax Claim and the Plan
Administrator shall have agreed upon in writing.

                3.4.4 All Other Administrative Claims. Any person or entity who requests
compensation or expense reimbursement in the Chapter 11 case pursuant to section 503 of the
Bankruptcy Code (other than Professional Fee Claims, Administrative Tax Claims and Priority Tax
Claims) must file an application with the clerk of the Bankruptcy Court and serve such application on
counsel for the Plan Administrator and the U.S. Trustee no later than the first Business Day that is thirty
(30) calendar days after the Effective Date, unless otherwise ordered by the Court (the “Administrative
Claim Deadline”), or be forever barred from seeking such compensation or expense reimbursement. For
the avoidance of doubt, Section 503(b)(9) Claims are subject to section 4.4 of the Plan. Unless the Plan
Administrator objects to an Administrative Claim, such Administrative Claim shall be deemed an
Allowed Administrative Claim in the amount requested. Objections to such applications must be filed
and served on counsel to the Plan Administrator, the U.S. Trustee, and the requesting claimant on or
before the date that is twenty-one (21) calendar days after the date on which the applicable application
was served (or such longer period as may be allowed by order of the Bankruptcy Court or by agreement
with the requesting claimant). All Allowed Administrative Claims (other than Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) shall be paid by the Plan Administrator within
thirty (30) days of allowance by the Bankruptcy Court, unless appealed by the Plan Administrator.

       3.5     Implementation of the Plan.

               3.5.1 In General. The Plan is a liquidating plan and provides for the liquidation of the
Debtor’s Estate Assets and the payment of the proceeds generated therefrom to holders of Allowed
Claims in accordance with the priorities set forth in the Bankruptcy Code. The Plan Administrator may,
but is not required to, pursue any Causes of Action, Preserved Claims, or Avoidance Actions not
otherwise released under the Plan, or other Order of the Bankruptcy Court by informal demand and/or
by the commencement of litigation in any court of competent jurisdiction, with the net recoveries of
such Causes of Action, Preserved Claims, or Avoidance Actions to be distributed in accordance with the
Plan. The Plan also contemplates the Plan Administrator will retain Special Counsel to analyze, object
to, and/or prosecute the Claims of Statutory Insiders and possible Causes of Action against Statutory
Insiders.

              3.5.2 Means of Implementing the Plan. The primary means by which the Debtor will
implement the Plan is through the Plan Administrator and the Special Counsel.

               3.5.3 Transfer Taxes. Any transfer of the Debtor’s Estate Assets and pursuant to the
Plan shall constitute a “transfer under a plan” within the purview of section 1146(c) of the Bankruptcy
Code and will not be subject to transfer, stamp or similar taxes.

                 3.5.4 Estimated Plan Distribution. The Allowed Administrative Claims (including
Professional Fee Claims, Administrative Tax Claims and Priority Tax Claims) will be paid pursuant to
priorities set forth in the Bankruptcy Code from the cash funds in the Debtor in Possession account and
from the Revested Assets or Causes of Action, Preserved Claims, and Avoidance Actions. The amount
of the Plan Distributions on account of Class 3 and Class 4 cannot be determined with certainty. The



                                                    14
    Case 17-30112       Doc 640    Filed 04/09/18 Entered 04/09/18 16:59:45         Desc Main
                                   Document      Page 18 of 69


following table provides a summary of the classification and treatment of Claims and Equity Interests
and the potential distributions to Holders of Allowed Claims and Equity Interests under the Plan.

     THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE
ESTIMATES ONLY AND ARE SUBJECT TO CHANGE. FOR A COMPLETE DESCRIPTION
OF THE DEBTOR’S CLASSIFICATION AND TREATMENT OF CLAIMS AND EQUITY
INTERESTS, REFERENCE SHOULD BE MADE TO ARTICLES III AND V OF THE PLAN.




                                                 15
       Case 17-30112               Doc 640         Filed 04/09/18 Entered 04/09/18 16:59:45                                       Desc Main
                                                   Document      Page 19 of 69


                                     SUMMARY OF EXPECTED RECOVERIES1

                                                                                           Estimated Amount of
               Claim/Equity                                                                                                   Projected Recovery Under
 Class                                        Treatment of Claim/Interest                    Unpaid Allowed
                 Interest                                                                                                              the Plan
                                                                                                 Claims
                                                                                                   Approximately
                                                                                             $428,000266,000 owing but
                                                                                           unpaid as of the Effective Date
                                  All Professional Fee Claims shall be paid by the                   as follows:             Paid in full pursuant to Plan
                                                                                             $75,000 – Vogel Law Firm
              Professional Fee    Plan Administrator to the extent approved by order                                         unless     otherwise     paid
  N/A                                                                                        $35,000 – Eide Bailly, LLP
                  Claims          of the Bankruptcy Court within five (5) Business          $3,00015,000 – Brady Martz,      pursuant to other Bankruptcy
                                  Days after entry of such order.                                        LLP                 Court Order
                                                                                               $150,000300,000 - Fox
                                                                                                     Rothschild
                                                                                             $3,000 - BGA Management
                                Allowed Administrative Tax Claims under section                                              Paid in full pursuant to Plan
             Administrative Tax 503(b)(1)(B) and (C) of the Bankruptcy Code shall                  Approximately             unless     otherwise     paid
  N/A                                                                                                $30,0000
                  Claim         be paid in full by the Plan Administrator as soon as                                         pursuant to sale or other
                                reasonably practicable after the Effective Date.                                             Bankruptcy Court Order
                                 In full satisfaction, settlement, and release of and in
                                 exchange for such Claims, Allowed Priority Tax
                                 Claims shall be paid by the Plan Administrator, at
                                 the Plan Administrator’s option, as follows: (a)
                                 cash funds equal to the unpaid portion of the Face                                          Paid in full pursuant to Plan
                                 Amount of such Allowed Priority Tax Claim on the                  Approximately             unless     otherwise     paid
  N/A        Priority Tax Claims                                                                   $5,00030,000
                                 later of the Effective Date or thirty (30) calendar                                         pursuant to sale or other
                                 days following the date on which such Priority Tax                                          Bankruptcy Court Order
                                 Claim becomes an Allowed Priority Tax Claim; or
                                 (b) such other treatment as to which the holder of
                                 an Allowed Priority Tax Claim and the Plan
                                 Administrator shall have agreed upon in writing.
                                  Allowed Administrative Claims shall be paid in full                                        Paid in full pursuant to Plan
                 All Other
                                  in cash by the Plan Administrator as soon as                    Approximately              unless     otherwise     paid
  N/A          Administrative                                                                    $700,000260,000
                                  reasonably practicable after the Effective Date                                            pursuant to sale or other
                  Claims
                                                                                                                             Bankruptcy Court Order
   1     Wells Fargo Secured Wells Fargo was paid in cash, in full, by the
                                                                                                                                           $0.00
                Claim        Debtor. Wells Fargo has no further claim against
                                                                                                      $0.00                  Has already been indefeasibly
                             the Debtor and will not receive any Distributions
                                                                                                                             paid in full.
                             under the Plan.
                              Unsecured Allowed Claims not entitled to priority
                              where the total of the unsecured Allowed Claim
               Convenience                                                                         Approximately
   2                          does not exceed $2,0001,500.00. Any unsecured                          $105,000                            50%
             Unsecured Claims
                              creditor whose claim exceeds $2,0001,500.00 may
                              elect by voting on the Plan to be treated as a Class 2

         1
            The recoveries set forth in this table may change based upon changes in the amount of Claims that are “Allowed”
as well as other factors related to the Debtor’s business operations and general economic conditions. “Allowed” means a
Claim or any portion thereof (a) that has been allowed by a Final Order, or (b) as to which, on or by the Effective Date, (i) no
proof of claim has been filed with the Bankruptcy Court and (ii) the liquidated and noncontingent amount of which is
scheduled, other than a Claim that is scheduled in an unknown amount or as disputed, or (c) for which a proof of claim in a
liquidated amount has been timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code, any Final Order of the
Bankruptcy Court or other applicable bankruptcy law, and as to which either (i) no objection to its allowance has been filed
within the periods of limitation fixed by the Plan, the Bankruptcy Code or by any order of the Bankruptcy Court or (ii) any
objection to its allowance has been settled or withdrawn, or has been denied by a Final Order, or (d) that is expressly allowed
in a liquidated amount in the Plan. The amount of an Allowed Claim shall be the lesser of the amount stated in a proof of
claim filed for such Claim (if less than the amount scheduled for such Claim), the amount agreed to in a written settlement, or
the amount allowed by a Final Order. Except for any Claim that is expressly Allowed herein, any Claim that has been or is
hereafter listed in the Schedules as contingent, unliquidated or disputed, and for which no Proof of Claim has been filed, is
not considered Allowed and shall be deemed expunged upon entry of the Confirmation Order.


                                                                      16
       Case 17-30112               Doc 640         Filed 04/09/18 Entered 04/09/18 16:59:45                     Desc Main
                                                   Document      Page 20 of 69


                                  Convenience Class creditor by electing to reduce
                                  their Claim to $2,0001,500.00. The holders of Class
                                  2 Allowed Claims will be paid a total of 50% of
                                  their Allowed Claims as soon as reasonably
                                  practicable after the Effective Date. Such payments
                                  shall be in full satisfaction of each Class 2 Allowed
                                  Claim.
                              Except to the extent that a holder of a Class 3
                              Allowed Claim agrees to a less favorable treatment,
                              each holder of a Class 3 Allowed Claim shall
                              receive its Pro Rata share of the First Interim
                              Distribution after payment in full of (or reserve for)
                              Plan Administration Expenses, all Allowed
                              Administrative Claims as set forth in Article IV
                              above (including Professional Fee Claims,
                              Administrative Tax Claims, and Priority Tax
                              Claims), Allowed Claims in Class 2, and the
              Effective Date  Claims Reserve. Subsequent Distributions on Class              Approximately
   3                                                                                      $3,000,0004,509,000         314%
             Unsecured Claims 3 Allowed Claims shall be made as soon as
                              reasonably practicable after the Effective Date and
                              after the reconciliation of all Class 4 Claims, unless
                              the Plan Administrator, in its sole discretion,
                              determines that an earlier Distribution is practicable
                              consistent with the Plan. Such Distributions shall be
                              in full satisfaction of each Class 3 Allowed Claim.
                              The holders of Allowed Claims in Class 3 and
                              Class 4 shall be paid Pro Rata based on the
                              aggregate Face Amount of all Allowed Claims in
                              both classes.
                                 Except to the extent that a holder of a Class 4
                                 Claim agrees to a less favorable treatment, each
                                 holder of a Class 4 Claim that becomes an Allowed
                                 Claim shall receive its Pro Rata share of the
                                 Subsequent Interim Distributions after payment in
                                 full of (or reserve for) Plan Administration
                                 Expenses, all Allowed Administrative Claims as set
                                 forth in Article IV above (including Professional
                                 Fee Claims, Administrative Tax Claims, and
                                 Priority Tax Claims), Allowed Claims in Class 2,
                                 and the First Interim Distribution on Class 3
             Post-Effective Date Claims. Distributions on Class 4 Allowed Claims            Approximately
   4                                                                                        $2119,000,0002            314%
             Unsecured Claims shall be made as soon as reasonably practicable
                                 after the Effective Date and after the reconciliation
                                 of all Class 4 Claims, unless the Plan
                                 Administrator, in its sole discretion, determines that
                                 an earlier Distribution is practicable consistent with
                                 the Plan. Such Distributions shall be in full
                                 satisfaction of each Class 4 Allowed Claim. The
                                 holders of Allowed Claims in Class 3 and Class 4
                                 shall be paid Pro Rata based on the aggregate Face
                                 Amount of all Allowed Claims in both classes. For
                                 avoidance of doubt, all Class 4 Claims are
                                 considered Disputed Claims.
                                  The holders of Equity Interests in Class 5 shall
   5          Equity Interests    have their Equity Interests against the Debtor                 N/A                   0%
                                  extinguished as of the Effective Date and shall


         2
           The amount identified is total approximate amount of Class 4 Claims. At the present time, it is impossible to determine the
amount of Class 4 Claims that will be Allowed. To the extent any Class 4 Claims become Disallowed Claims, the percentage Distributions
on Allowed Class 3 and Class 4 Claims will increase.


                                                                      17
     Case 17-30112        Doc 640        Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                         Document      Page 21 of 69


                         receive no Distributions under this Plan.




               3.5.5 Time of Distributions. Except as otherwise provided for herein, ordered by the
Bankruptcy Court, or otherwise, Distributions under the Plan shall be made as soon as is reasonably
practicable on the later to occur of (a) the Effective Date, (b) the date a Claim becomes an Allowed
Claim, or (c) the date that cash becomes available for Distribution to a particular Class pursuant to the
treatment of such Class under the Plan.

       3.6     Funding and No Disbursing Agent.

               3.6.1 Plan Predicated Upon Liquidation of the Debtor’s Estate Assets and Net
Recoveries from Causes of Action, Preserved Claims, and Avoidance Actions. On the Effective Date,
the Debtor and its Estate shall irrevocably vest in the Liquidating Debtor for purposes of administration,
by the Plan Administrator, of all of its respective rights, title, and interest in and to all Revested Assets,
and in accordance with section 1141 of the Bankruptcy Code. For the avoidance of doubt, the Revested
Assets include Causes of Action, Avoidance Actions and Preserved Claims. Except as specifically
provided in the Plan or the Confirmation Order, the Estate Assets shall automatically vest in the
Liquidating Debtor free and clear of all Claims, Liens, encumbrances, or interests, and such vesting shall
be exempt from any stamp, real estate transfer, other transfer, mortgage reporting, sales, use, or other
similar tax. The Plan Administrator shall be the exclusive representative of the Estate appointed
pursuant to section 1123(b)(3)(B) of the Bankruptcy Code regarding all Revested Assets.

On the Effective Date, the Plan Administrator shall establish the Claims Reserve for the benefit of
holders of Class 3 and Class 4 Creditors whose Claims are Allowed. The Claims Reserve shall vest in
the Plan Administrator and shall be maintained by the Plan Administrator in accordance with the Plan.
Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be included in the
Claims Reserve.

              3.6.2 No Separate Disbursing Agent. The Plan Administrator shall serve as the
disbursing agent for all Allowed Claims under the Plan.

       3.7     Executory Contracts and Unexpired Leases.

               3.7.1 Assumption/Rejection. The Debtor does not assume any executory contracts or
unexpired leases still in effect on the Effective Date of the Plan. On the Effective Date, the Debtor’s
executory contracts and unexpired leases not previously rejected will be conclusively deemed rejected.
The Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
pursuant to section 365 of the Bankruptcy Code.

               3.7.2 Rejection Damages Bar Date. If the rejection by the Debtor, pursuant to the Plan
or otherwise, of an executory contract or unexpired lease results in a Claim, then such Claim shall be
forever barred and shall not be enforceable against the Debtor, the Liquidating Debtor, the Plan
Administrator or the properties of any of them unless a proof of claim was filed with the Claims Agent
within the time allowed by the Bar Date (i.e., July 3, 2017) or the Bankruptcy Court’s applicable order
authorizing the Debtor to reject an executory contract or unexpired lease; provided, however, that
notwithstanding the foregoing, in the case of an executory contract or unexpired lease "deemed rejected"


                                                            18
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 22 of 69


pursuant to Section 6.2 of the Plan which results in a Claim, such Claim shall be forever barred and shall
not be enforceable against the Debtor, the Liquidating Debtor, the Plan Administrator, the Estate or the
properties of any of them unless a proof of claim is filed with the Claims Agent and served upon counsel
to the Plan Administrator within thirty (30) days after the Effective Date.

       3.8     Modification of the Plan.

               3.8.1 Plan May Be Modified. The Debtor may alter, amend or modify the Plan or any
Exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation
Hearing. After the Confirmation Date and prior to the Effective Date, the Debtor may, under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation
Order, and such matters as may be necessary to carry out the purposes and effects of the Plan, so long as
such proceedings do not materially adversely affect the treatment of Claimholders or Interestholders
under the Plan; provided, however, that prior notice of such proceedings shall be served in accordance
with the Bankruptcy Rules or order of the Bankruptcy Court. From and after the Effective Date and prior
to substantial consummation of the Plan (as defined in section 1101(2) of the Bankruptcy Code), the
Plan Administrator may seek non-material modification or amendment of the Plan pursuant to Section
13.2 of the Plan.

       3.9     Plan Controls.

               3.9.1 Plan Provisions Control. In the event and to the extent that any provision of the
Plan is inconsistent with the provisions of this Disclosure Statement or any other agreement or
instrument required or contemplated to be executed by the Debtor or the Plan Administrator, the
provisions of the Plan will control.

       3.10    Binding Effect.

               3.10.1 Provisions of Plan are Binding. The provisions of the Plan and the Confirmation
Order are binding and will inure to the benefit of the holders of Claims against, and Equity Interests in,
the Debtor and its respective successors, assigns, heirs and personal representatives, whether or not such
persons voted to accept or reject the Plan.

       3.11    Procedures for Resolving Disputed Claims and Equity Interests.

               3.11.1 Objections to Claims. Subsequent to Confirmation, the Plan Administrator will
have the right to object to the allowance of any Claim. Such objections, if any, will be filed with the
Bankruptcy Court no later than the first Business Day that is 180 calendar days after the Effective Date.
For the avoidance of doubt, the Claim Objection Deadline may be extended one or more times by the
Bankruptcy Court.

                3.11.2 No Distributions Pending Allowance. Except as otherwise set forth in the Plan,
no payments or Distributions will be made with respect to all or any portion of a Disputed Claim unless
and until all objections to such Disputed Claim have been settled or withdrawn or have been determined
by a Final Order, and the Disputed Claim has become an Allowed Claim.




                                                   19
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 23 of 69


               3.11.3 Compromises and Settlements. Pursuant to Bankruptcy Rule 9019(a), the Debtor
may compromise and settle various (a) Claims against it, and (b) claims that Debtor may have against
other Persons. The Debtor expressly reserves the right (with Bankruptcy Court approval, following
appropriate notice and opportunity for a hearing) to compromise and settle, up to and including the
Effective Date, Claims against the Debtor and claims that the Debtor may have against other Persons.
After the Effective Date, such right will pass exclusively to the Plan Administrator to which such claims
will be conveyed pursuant to the Plan.

                3.11.33.11.4 Post-Confirmation Advisory Committee. Within ten (10) days after entry
of the Confirmation Order, the Debtor, in consultation with the Creditors’ Committee, will establish a
Post-Confirmation Advisory Committee consisting of three (3) unsecured creditor representatives that
are willing to serve in an advisory capacity to the Plan Administrator. The Post-Confirmation Advisory
Committee members will agree to serve free of charge and may retain counsel at their own cost which
shall not be passed along to the Debtor’s Estate. The Plan Administrator will provide a quarterly report
to the Post-Confirmation Advisory Committee and will consult and receive the majority approval of the
Post-Confirmation Advisory Committee members of any compromise or settlement where the amount of
such Disputed Claim or Cause of Action exceeds $250,000, subject to Bankruptcy Court approval if the
compromise or settlement is not approved by a majority of the Post-Confirmation Advisory Committee.

               3.11.43.11.5 Payments and Distributions with Respect to Classes 3 and 4; Claims
Reserve. On the Effective Date, the Plan Administrator shall establish the Claims Reserve. The Claims
Reserve shall vest in the Plan Administrator and shall be maintained by the Plan Administrator in
accordance with the Plan. Any recovery from Causes of Action, Avoidance Actions or Preserved Claims
will be included in the Claims Reserve.

The Plan Administrator shall hold the Claims Reserve for the benefit of holders of Class 3 and Class 4
Creditors whose Claims are Allowed and for the benefit of other parties entitled thereto under the Plan.
The amount of the Claims Reserve will be equal to the funds held in the Debtor in Possession account as
of the Effective Date, less the amounts on reserve for Plan Administration Expenses, Allowed
Administrative Claims as set forth in Article IV of the Plan (including Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) and Allowed Class 2 Claims multiplied by the
percentage that represents the Face Amount of Class 4 Claims compared to the Face Amount of Claims
in Classes 3 and 4. Upon the allowance of any Class 4 Claims a Distribution on said Claims will be
made from the Claims Reserve equal to the percentage Pro Rata distribution received by Class 3 Claims
as a result of the First Interim Distribution. Allowed Claims in Class 3 and Class 4 shall be paid Pro
Rata based on the aggregate Face Amount of all Allowed Claims in both classes.

       3.12   Retention of Claims Belonging to the Debtor.

               3.12.1 Causes of Action, Preserved Claims and Avoidance Actions. Except as
previously waived or released, all Causes of Action, Preserved Claims, and Avoidance Actions are
preserved and retained for enforcement exclusively by the Plan Administrator subsequent to the
Effective Date.

       3.13   Tax Consequences.

               3.13.1 In General. The Federal income tax consequences of the Plan to a Creditor or
Interestholder will depend upon a number of factors and can be complex. In general, a Creditor that

                                                   20
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 24 of 69


receives cash in satisfaction of its Allowed Claim will generally receive a gain or loss with respect to the
principal amount of the Allowed Claim equal to the difference between: (i) the Creditor’s basis in the
Claim (other than any Claim in respect to accrued interest); and (ii) the balance of the cash received after
any allocation to the accrued interest. The Debtor has not determined the character of any gain or loss to
be recognized by an Interest Holder with respect to any distribution, if any, such Interestholder may
receive under the Plan. FOR THE FOREGOING REASONS, HOLDERS OF CLAIMS AND
HOLDERS OF EQUITY INTERESTS ARE ADVISED TO CONSULT WITH THEIR OWN TAX
ADVISORS AS TO THE SPECIFIC TAX CONSEQUENCES (FOREIGN, FEDERAL, STATE AND
LOCAL) OF THE PLAN. THE DEBTOR IS NOT MAKING ANY REPRESENTATION
REGARDING THE PARTICULAR TAX CONSEQUENCES OF THE CONFIRMATION AND
CONSUMMATION OF THE PLAN AS TO ANY CREDITOR OR INTERESTHOLDER, NOR IS
THE DEBTOR RENDERING ANY FORM OF LEGAL OPINION AS TO SUCH TAX
CONSEQUENCES. CREDITORS AND INTERESTHOLDERS ARE URGED TO CONSULT THEIR
OWN TAX ADVISORS WITH RESPECT TO THE TREATMENT OF DISTRIBUTIONS MADE
UNDER THE PLAN.

4.     POST-CONFIRMATION ISSUES

     4.1     Role of Creditors’ Committee. From and after the Effective Date, the Creditors’
Committee shall not exist, except in accordance with Section 13.314.3 of the Plan.

       4.2     Employment of Counsel and Fees.

                4.2.1 Employment of Professionals After Confirmation. All professionals employed
by the Debtor and the Creditors’ Committee during the pendency of the Chapter 11 case shall continue
to be employed, and will be entitled to compensation as holders of Administrative Claims for their
services prior to the Effective Date. Upon the occurrence of the Effective Date, the Plan Administrator
shall be deemed a judicial substitute for the Debtor and shall be empowered to retain and/or employ
professionals.

       4.3     Exculpation and Limitation of Liability; Releases; and Injunction.

                4.3.1 Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
Distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute
(a) a good faith compromise of all Claims, Equity Interests, and controversies relating to the contractual,
legal and subordination rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made on account of such Allowed Claim with the effective date of the
compromise of any Claim being the date of the final Distribution on the same, and (b) a good faith
compromise of all Claims and Causes of Action the Debtor, Creditors’ Committee or any Person that
could bring such Cause of Action on their behalf against the Released Parties. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that
such compromise or settlement is in the best interest of the Debtor, its Estate and holders, and is fair,
equitable and reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of the
Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Plan Administrator may compromise and
settle Claims against the Debtor and Causes of Action against other Persons including Statutory Insiders,

                                                    21
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 25 of 69


subject to the provisions of Sections 8.2 and 10.2 of the Plan requiring majority agreement of the Post-
Confirmation Advisory Committee for settlement or compromise of any Disputed Claim or Cause of
Action where the amount exceeds $250,000, if said committee can be formed, and subject to Bankruptcy
Court approval if the compromise or settlement is not approved by a majority of the Post-Confirmation
Advisory Committee.

                4.3.2 Release of Liens. Except as otherwise provided in the Plan or in any contract,
instrument, release or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable Distributions made pursuant to the Plan, all liens, pledges, or other
security interests against any property of the Estate shall be fully released, and all of the right, title and
interest of any holder of such lien, pledges or other security interest shall revert to the Estate and its
successors and assigns.

          4.3.3 Releases by Holders. OTHER THAN AS TO THE RIGHTS AND
LIABILITIES PROVIDED FOR IN THE PLAN, AS OF THE EFFECTIVE DATE OF THE
PLAN, EACH AND ALL OF THE RELEASING PARTIES SHALL BE DEEMED TO
CONCLUSIVELY, ABSOLUTELY, EXPRESSLY, UNCONDITIONALLY, IRREVOCABLY,
GENERALLY AND INDIVIDUALLY AND COLLECTIVELY, RELEASE, AND ACQUITTED
EACH AND ALL OF THE RELEASED PARTIES AND THEIR RESPECTIVE PROPERTY
FROM ANY AND ALL ACTIONS, CLAIMS, EQUITY INTERESTS, OBLIGATIONS,
RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION, REMEDIES AND LIABILITIES
WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE
AGAINST OR ON BEHALF OF ANY OR ALL OF THE RELEASED PARTIES, WHETHER
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED OR UNMATURED,
EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT OR
OTHERWISE, BY STATUTE OR OTHERWISE, THAT SUCH RELEASING PARTY
(WHETHER INDIVIDUALLY OR COLLECTIVELY) EVER HAD, NOW HAS OR
HEREAFTER CAN, SHALL OR MAY HAVE, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR, THE DEBTOR’S
LIQUIDATION, THE CHAPTER 11 CASE, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT IS
TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
BETWEEN THE DEBTOR AND ANY RELEASED PARTY, THE RESTRUCTURING OF
CLAIMS AND INTERESTS BEFORE OR DURING THE CHAPTER 11 CASE, INCLUDING
THE NEGOTIATION, FORMULATION, PREPARATION OR PERFORMANCE OF THE
STORE CLOSING SALES, THE IP ASSET SALES, THE PLAN, THE DISCLOSURE
STATEMENT, OR RELATED AGREEMENTS, INSTRUMENTS OR OTHER DOCUMENTS
OR ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE OF THE PLAN
RELATING TO THE DEBTOR OR THE DEBTOR’S ESTATES, EXCEPT FOR ANY CLAIMS
AND CAUSES OF ACTION FOR ACTUAL FRAUD, WILLFUL MISCONDUCT OR GROSS
NEGLIGENCE. THE EFFECTIVE DATE OF SUCH RELEASE AS TO ANY CLAIM
SHALL BE THE DATE OF THE FINAL DISTRIBUTION ON THE CLAIM. FOR THE
AVOIDANCE OF DOUBT, THE DEBTOR IS NOT A “RELEASING PARTY” AND IS NOT
RELEASING ANY CLAIMS AGAINST THIRD PARTIES OR THE STATUTORY
INSIDERS.


                                                     22
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                    Document      Page 26 of 69


               4.3.4 Liabilities to, and Rights of, Governmental Units. Nothing in the Plan or
Confirmation Order shall release, or preclude: (1) any liability to a Governmental Unit that is not a
Claim; (2) any Claim of a Governmental Unit arising on or after the Effective Date; (3) any liability to
a Governmental Unit on the part of any Person or Entity other than the Debtor or Plan Administrator;
(4) any valid right of setoff or recoupment by a Governmental Unit; or (5) any criminal liability.
Nothing in the Plan or Confirmation Order shall enjoin or otherwise bar any Governmental Unit
from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. The injunction provisions contained in the Plan and Confirmation Order are not intended
and shall not be construed to bar any Governmental Unit from, after the Effective Date, pursuing
any police or regulatory action.

          4.3.5 Exculpation. EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN
THE PLAN, NO EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH
EXCULPATED PARTY IS HEREBY RELEASED AND EXCULPATED FROM ANY
EXCULPATED CLAIM, OBLIGATION, CAUSE OF ACTION OR LIABILITY FOR ANY
EXCULPATED CLAIM, EXCEPT FOR FRAUD, GROSS NEGLIGENCE OR WILLFUL
MISCONDUCT, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
RAISE ANY AFFIRMATIVE DEFENSES, INCLUDING REASONABLE RELIANCE UPON
THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE DEBTOR (AND ITS RESPECTIVE
AFFILIATES, AGENTS, DIRECTORS, OFFICERS, EMPLOYEES, ADVISORS AND
ATTORNEYS) HAVE PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH
THE APPLICABLE LAWS AND PROVISIONS OF THE BANKRUPTCY CODE WITH
REGARD TO THE SOLICITATION OF VOTES AND TRANSFER OF DEBTOR’S ESTATE
ASSETS PURSUANT TO THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT
OF SUCH TRANSFER SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF
ANY APPLICABLE LAW, RULE OR REGULATION GOVERNING THE SOLICITATION OF
ACCEPTANCES OR REJECTIONS OF THE PLAN OR THE TRANSFER OF ESTATE
ASSETS PURSUANT TO THE PLAN.

          4.3.6 Injunction. FROM AND AFTER THE EFFECTIVE DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR RELATED DOCUMENTS, ALL
ENTITIES ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THE PLAN OR THE CONFIRMATION ORDER. EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN OR RELATED DOCUMENTS, OR IN OBLIGATIONS ISSUED
PURSUANT TO THE PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO
SECTION 10.3 4 OF THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT TO
SECTION 10.5 6 OF THE PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER
THE EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (1)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3)


                                                  23
   Case 17-30112   Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45   Desc Main
                             Document      Page 27 of 69


CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES
OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE RIGHT TO
PERFORM SUCH SETOFF ON OR BEFORE THE EFFECTIVE DATE, AND
NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE
THAT SUCH HOLDER ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF
SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (5) COMMENCING
OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN.

          4.3.7 FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF
THE RELEASE AND EXCULPATION GRANTED IN ARTICLE X OF THE PLAN, THE
DEBTOR AND HOLDERS OF CLAIMS OR EQUITY INTERESTS SHALL BE
PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER
AGAINST THE RELEASED PARTIES AND THE EXCULPATED PARTIES AND THEIR
ASSETS AND PROPERTIES, AS THE CASE MAY BE, ANY SUIT, ACTION OR OTHER
PROCEEDING, ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,
OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST OR REMEDY RELEASED
OR TO BE RELEASED PURSUANT TO ARTICLE X OF THE PLAN.

          4.3.8 THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF
ALL CLAIMS OR EQUITY INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN
COMPLETE SATISFACTION OF CLAIMS OR EQUITY INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND AFTER
THE PETITION DATE, AGAINST THE DEBTOR OR ANY OF ITS ASSETS, OR ESTATE
ASSETS. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS AGAINST THE DEBTOR
SHALL BE FULLY RELEASED AND THE EQUITY INTERESTS SHALL BE CANCELLED.
THE EFFECTIVE DATE OF SUCH SATISFACTION AS TO ANY CLAIM SHALL BE THE
DATE OF THE FINAL DISTRIBUTION ON THE CLAIM

          4.3.9 EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR HEREIN OR
IN OBLIGATIONS ISSUED PURSUANT HERETO FROM AND AFTER THE EFFECTIVE
DATE, ALL CLAIMS SHALL BE FULLY RELEASED, AND THE INTERESTS SHALL BE
CANCELLED, AND THE DEBTOR’S LIABILITY WITH RESPECT THERETO SHALL BE
EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED
UNDER SECTION 502(G) OF THE BANKRUPTCY CODE. THE EFFECTIVE DATE OF
SUCH RELEASE AS TO ANY CLAIM SHALL BE THE DATE OF THE FINAL
DISTRIBUTION ON THE CLAIM

         4.3.10 ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST
THE DEBTOR, THE DEBTOR’S ESTATE, THE CREDITORS’ COMMITTEE THE PLAN
ADMINISTRATOR, EACH OF THEIR RESPECTIVE SUCCESSORS AND ASSIGNS AND

                                        24
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 28 of 69


EACH OF THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS
BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED
BEFORE THE EFFECTIVE DATE. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ON OR AFTER THE EFFECTIVE DATE, EXCEPT AS OTHERWISE
PROVIDED HEREIN OR IN A PRIOR ORDER OF THE BANKRUPTCY COURT, A CLAIM
MAY NOT BE FILED OR AMENDED WITHOUT THE PRIOR AUTHORIZATION OF THE
BANKRUPTCY COURT OR THE CONSENT OF THE PLAN ADMINISTRATOR. ABSENT
SUCH AUTHORIZATION OR CONSENT, ANY NEW OR AMENDED CLAIM FILED SHALL
BE DEEMED DISALLOWED IN FULL AND EXPUNGED WITHOUT FURTHER ORDER OF
THE BANKRUPTCY COURT.

              4.3.11 Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 case pursuant to sections 105 or
362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

                 4.3.12 No Liability for Solicitation or Participation. As specified in section 1125(e) of
the Bankruptcy Code, Persons that solicit acceptances or rejections of this Plan, in good faith and in
compliance with the applicable provisions of the Bankruptcy Code are not liable, on account of such
solicitation or participation, for violation of any applicable law, rule, or regulation governing the
solicitation of acceptances or rejections of this Plan or the offer, issuance, sale or purchase of securities.

5.     FEASIBILITY

       5.1     Financial Feasibility Analysis.

              5.1.1 Bankruptcy Code Standard. The Bankruptcy Code requires that, in order to
confirm the Plan, the Bankruptcy Court must find that Confirmation of the Plan is not likely to be
followed by the liquidation or the need for further financial reorganization of the Debtor unless
contemplated by the Plan.

               5.1.2 No Need for Further Reorganization of Debtor. The Plan provides for the
liquidation of all of the Debtor’s Revested Assets. Accordingly, the Debtor believes that all Plan
obligations will be satisfied without the need for further reorganization of the Debtor.

6.     ALTERNATIVES TO PLAN

       6.1     Chapter 7 Liquidation.

               6.1.1 Bankruptcy Code Standard. Notwithstanding acceptance of the Plan by the
requisite number of Creditors and Interestholders of any Class, the Bankruptcy Court must still
independently determine that the Plan provides each member of each Impaired Class of Claims and
Equity Interests a recovery that has a value at least equal to the value of the distribution that each such
Person would receive if the Debtor was liquidated under Chapter 7 of the Bankruptcy Code on the
Effective Date.


                                                     25
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 29 of 69


               6.1.2 Plan is in Best Interest of Creditors. The Debtor believes that the Plan satisfies
this standard because the Plan provides for an orderly liquidation of the Revested Assets. Furthermore,
the Debtor believes that the Plan also provides Creditors with a degree of certainty that would not exist
if the Revested Assets were subject to liquidation outside of the Plan and eliminates the risks and
expenses of the marketplace and continual administration of the Debtor. In this regard, in the event of a
liquidation under Chapter 7, some administrative expenses may go unpaid, general unsecured creditors
would likely receive a lesser distribution, and the following is likely to occur:

                       1.      Additional administrative expenses, including trustee’s commissions, fees
for trustee’s accountant, attorneys and other professionals likely to be retained, would be incurred with
priority over general unsecured claims under section 507(a)(1) of the Bankruptcy Code and would
materially reduce Creditor recovery.

                      2.     Distributions would likely be substantially delayed, while expenses of
administration would continue to grow.

        It is the Debtor’s belief that in a Chapter 7 liquidation of the Debtor, the unsecured Creditors
would not receive a distribution or would receive less of a distribution. Accordingly, the Debtor believes
that the Plan is in the best interests of Creditors. See Chapter 7 Liquidation Comparison attached hereto
as Exhibit A.

       6.2     Risk Factors.

                6.2.1 There can be no assurance by the Debtor that any remaining liquidation proceeds
will be generated from the liquidation of the Debtor’s Revested Assets. Even in the event of the
liquidation of the Debtor’s remaining Revested Assets, there can be no assurance by the Debtor that
such sale or sales or prosecution of Causes of Action will generate additional proceeds for distribution to
the holders of Allowed Claims.

                6.2.2 There can be no assurance at this time of the number or amount of Claims that
will ultimately be Allowed, and thus the projected recoveries disclosed in this Disclosure Statement are
highly speculative. A large amount of Allowed Claims may materially and adversely affect, among other
things, the recoveries to holders of Allowed Claims under the Plan.

               6.2.3 Any valuation of any of the assets to be distributed under the Plan is necessarily
speculative, and the value of such assets could potentially be zero. Accordingly, the ultimate value, if
any, of these assets could materially affect, among other things, recoveries to the Debtor’s creditors,
including Claimholders in the voting classes.

               6.2.4 Although the Debtor has made commercially reasonable efforts to disclose
projected recoveries in this Disclosure Statement, it is possible that the amount of Allowed Claims will
be materially higher than any range of possible Allowed Claims the Debtor has considered to date, and
thus creditor recoveries could be materially reduced or eliminated. In addition, the timing of actual
Distributions to holders of Allowed Claims may be affected by many factors that cannot be predicted.
Therefore the Debtor cannot guarantee the timing of any recover on an Allowed Claim.

               6.2.5 As discussed in this Disclosure Statement, there are material income tax
considerations, risks and uncertainties associated with consummation of the Plan. Claimholders and


                                                    26
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 30 of 69


Equity Interest holders should carefully read the discussion set forth in Section 3.13 of this Disclosure
Statement and consult with their own tax advisors to determine any tax implications of the Plan to such
holders.

       6.3    Recommendations.

                 6.3.1 It is the position of the Debtor that the Plan is substantially preferable to a
liquidation under Chapter 7 of the Bankruptcy Code. Conversion of this Chapter 11 case would result in:
(i) substantial delays in the distribution of any proceeds (if any) available under such alternative;
(ii) increased uncertainty as to whether payments would be made to unsecured Creditors; and
(iii) substantially increased administrative costs.

        THE DEBTOR RECOMMENDS THAT YOU VOTE IN FAVOR OF THE PLAN.

7.     CONCLUSION

       It is important that you exercise your right to vote on the Plan. It is the Debtor’s belief and
recommendation that the Plan fairly and equitably provides for the treatment of all Claims against the
Debtor and is substantially preferable to a liquidation under Chapter 7 of the Bankruptcy Code.




                                                   27
    Case 17-30112     Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                                  Document      Page 31 of 69


      IN WITNESS WHEREOF, the Debtor has executed this Disclosure Statement this 22 209th day
of NovemberApril, 20178.

                                            Vanity Shop of Grand Forks, Inc.



                                            James Bennett
                                            President


Dated   this   22nd   209th     day   of         VOGEL LAW FIRM

NovemberApril, 20172018.
                                           BY:
                                                 Jon R. Brakke (#03554)
                                                 jbrakke@vogellaw.com
                                                 Caren W. Stanley (#06100)
                                                 cstanley@vogellaw.com
                                                 218 NP Avenue
                                                 PO Box 1389
                                                 Fargo, ND 58107-1389
                                                 Telephone: (701) 237-6983
                                                 Fax: (701) 476-7676
                                                 ATTORNEYS FOR DEBTOR
    Case 17-30112        Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                      Document      Page 32 of 69


                                                 Exhibit A

                                 Chapter 7 Liquidation Comparison

As of 10/28/1703/03/18                                                  Chapter 11         Chapter 7
Forecasted Cash Available for Distribution
                                                                                    $                    $
                                                                  7,356,880.007,463,2 7,356,880.00463.225.
    Cash & Equivalents                                                          25.59                   59
    Refund IP Sale Deposits                                         $     (58,250.00)    $     (58,250.00)
    Release of BCBS Deposits                                        $ 85,381.000.60      $   85,30081.600

Forecasted Recovery for Causes of Action                            $
                                                                1,500,000.00    $    1,500,000.00
                                                                           $   $
                                                         8,884,011.009,048,5 8,884,011.009,048,52
                                   TOTAL CASH & RECEIPTS               26.19 6.19

Forecasted Administrative Expenses through Plan Effective Date
    Administrative Expenses (non-professional - Claims Agent)       $     (70,000.00)    $     (70,000.00)
    Administrative Expenses (professional)                          $ (428266,000.00)    $ (428266,000.00)
    Priority Tax Claims                                             $    (305,000.00)    $    (305,000.00)
    Administrative Tax Claims                                       $     (30,000.00)    $     (30,000.00)
    Administrative Non-Tax Claims                                   $ (70260,000.00)     $ (70260,000.00)

Forecasted Outstanding from/after Plan Effective Date
    Plan Administrator                                              $(100,000.00)
    Attorney and other professional fees for Plan Administrator     $(150,000.00)
                                                                                $                    $
                                                              7,563,011.008,010,5 7,813,011.08,260,526
                                                     SUBTOTAL               26.19                 .190

Incremental Chapter 7 Fees & Costs
                                                                                       $
    Trustee Fee % (3% of all Cash Distributed)                      $                -
                                                                    234,390.3371,455.79
    Attorney and Other Professional Fees                            $  $             -
                                                                              150,000.00
                                                                       $      384,390.33
      TOTAL INCREMENTAL CHAPTER 7 FEES & COSTS     $            -             421,455.79
                                                                  $                    $
         COMPARISON OF CHAPTER 11 VS. CHAPTER 7 7,563,011.008,010,5 7,839,070.40428,620.
      AVAILABLE FUNDS FOR UNSECURED CREDITORS                 26.19                   67
               Case 17-30112     Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                              Document      Page 33 of 69


                                                       Exhibit A

                                         Chapter 7 Liquidation Comparison

         As of 03/03/18                                                        Chapter 11             Chapter 7
         Forecasted Cash Available for Distribution
             Cash & Equivalents                                            $      7,463,225.59   $      7,463,225.59
             Release of BCBS Deposits                                      $         85,300.60   $         85,300.60

         Forecasted Recovery for Causes of Action                          $      1,500,000.00    $      1,500,000.00
                                           TOTAL CASH & RECEIPTS           $      9,048,526.19   $      9,048,526.19

         Forecasted Administrative Expenses through Plan Effective Date
             Administrative Expenses (non-professional - Claims Agent)     $       (70,000.00)   $        (70,000.00)
             Administrative Expenses (professional)                        $      (428,000.00)   $       (428,000.00)
             Priority Tax Claims                                           $       (30,000.00)   $        (30,000.00)
             Administrative Tax Claims                                     $            (0.00)   $             (0.00)
             Administrative Non-Tax Claims                                 $      (260,000.00)   $       (260,000.00)

         Forecasted Outstanding from/after Plan Effective Date
             Plan Administrator                                            $      (100,000.00)
             Attorney and other professional fees for Plan Administrator   $      (150,000.00)
                                                              SUBTOTAL     $      8,010,526.19   $      8,260,526.19

         Incremental Chapter 7 Fees & Costs
             Trustee Fee % (3% of all Cash Distributed)                    $                -    $        271,455.79
             Attorney and Other Professional Fees                          $                -    $        150,000.00
               TOTAL INCREMENTAL CHAPTER 7 FEES & COSTS                    $                -    $        421,455.79
                   COMPARISON OF CHAPTER 11 VS. CHAPTER 7
               AVAILABLE FUNDS FOR UNSECURED CREDITORS                     $      8,010,526.19   $      7,839,070.40




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Case 17-30112   Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                          Document      Page 34 of 69


                                 EXHIBIT B

           (Debtor’s Second Plan of Liquidation dated April 9, 2018)
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 35 of 69


                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NORTH DAKOTA


In Re:                                                    Case No.: 17-30112

                                                          Chapter 11
Vanity Shop of Grand Forks, Inc.,

                      Debtor.


  DEBTOR’S SECOND PLAN OF LIQUIDATION DATED NOVEMBER 22, 201720APRIL 9,
                                 2018


                                              ARTICLE I.
                                              SUMMARY

       Vanity Shop of Grand Forks, Inc. (“Debtor”), debtor-in-possession in the above-captioned
Chapter 11 case, hereby proposes the following Chapter 11 plan of liquidation pursuant to the provisions
of Chapter 11 of the Bankruptcy Code.

       For a discussion of the Debtor’s history, business, property, and a summary and analysis of the
Plan, stakeholders of the Debtor should review the Disclosure Statement filed with the Bankruptcy
Court to which the Plan is attached. ALL CLAIMHOLDERS AND INTERESTHOLDERS ARE
ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

        The Plan provides for the wind down of the Debtor’s affairs, continued liquidation and
conversion of all of the Debtor’s remaining assets and the distribution of the net proceeds realized to
creditors holding Allowed Claims in accordance with the relative priorities established in the
Bankruptcy Code. The Plan does not provide for a distribution to holders of Equity Interests, and their
votes are not being solicited. The Plan contemplates the appointment of a Plan Administrator to, among
other things, finalize the wind down of the Debtor’s affairs, resolve Disputed Claims, pursue any Causes
of Action, implement the terms of the Plan and make Distributions to holders of Allowed Claims. The
Plan also contemplates the appointment of a Special Counsel to resolve Statutory Insider Claims. This
Plan also provides for the payment of Administrative Claims in full on the Effective Date of the Plan or
pursuant to agreement with the claimant.

        The Debtor expressly reserves its right to alter, amend or modify the Plan, one or more times,
before its substantial consummation, subject to the restrictions on modification set forth in section 1127
of the Bankruptcy Code and Bankruptcy Rule 3019 and as otherwise set forth in this Plan.
    Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                   Document      Page 36 of 69


                                           ARTICLE II.
                                          DEFINITIONS

       2.1    Scope of definitions and rules of construction. For purposes of the Plan, except as
expressly provided or unless the context otherwise requires:

      a.     all Defined Terms shall have the meanings ascribed to them in Section 2.2 of the Plan;

      b.     any term used in the Plan that is not a Defined Term, but that is used in the Bankruptcy
             Code or Bankruptcy Rules has the meaning assigned to such term in the Bankruptcy
             Code or Bankruptcy Rules, as applicable, unless the context requires otherwise;

      c.     whenever the context requires, terms shall include the plural as well as the singular
             number, the masculine gender shall include the feminine, and the feminine gender shall
             include the masculine;

      d.     any reference in the Plan to an existing document, instrument, or exhibit means such
             document, instrument, or exhibit as it may be amended, modified, or supplemented from
             time to time;

      e.     any reference to a specific Person includes any successors or assigns of such Person, and
             all rights, benefits, interests, and obligations of any Person named or referred to in the
             Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
             administrator, trustee, liquidator, rehabilitator, conservator, successor, or assign of such
             Person;

      f.     unless otherwise indicated, the phrase “under the Plan” and similar words or phrases refer
             to the Plan in its entirety rather than to only a particular portion of the Plan;

      g.     whenever the Plan uses the word “including,” such reference shall be deemed to mean
             “including, without limitation,”;

      h.     captions and headings to articles and sections are inserted for convenience of reference
             only and are not intended to be a part of or to affect the interpretation of the Plan;

      i.     whenever the Plan provides that a document or thing must be “acceptable” or
             “satisfactory” to any Person, such requirement shall in each case be subject to a
             reasonableness qualifier;

      j.     the definition given to any term or provision in the Plan supersedes and controls any
             different meaning that may be given to that term or provision in the Disclosure
             Statement, on any Ballot, or in any other document; and

      k.     all other rules of construction set forth in Bankruptcy Code section 102 and in the
             Bankruptcy Rules shall apply; and

      l.     unless otherwise expressly provided herein, in computing any period of time prescribed
             or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.


                                                  2
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 37 of 69


         2.2   Definitions. The following Defined Terms shall have the respective meanings specified
below.

       2.201 “Administrative Claim” means a claim for payment of an administrative expense of a
kind specified in section 503(b) of the Bankruptcy Code and entitled to priority pursuant to section
507(a)(1) of the Bankruptcy Code, including, but not limited to, (a) the actual, necessary costs and
expenses, incurred after the Petition Date, of preserving the Estate and operating the businesses of the
Debtor, including wages, salaries or commissions for services rendered after the commencement of the
Chapter 11 case, (b) Professional Fee Claims, and (c) all fees and charges assessed against the Estate
under chapter 123 of title 28, United States Code.

       2.202 “Administrative Claim Bar Date” means the first Business Day that is thirty (30)
calendar days after the Effective Date.

       2.203 “Administrative Tax Claim” means a claim for any tax of a kind specified in section
503(b)(1)(B) and (C) of the Bankruptcy Code and entitled to priority pursuant to section 507(a)(1) of the
Bankruptcy Code.

        2.204 “Allowed Claim” means a Claim or any portion thereof (a) that has been allowed by a
Final Order, or (b) as to which, on or by the Effective Date, (i) no proof of claim has been filed with the
Bankruptcy Court and (ii) the liquidated and noncontingent amount of which is scheduled, other than a
Claim that is scheduled in an unknown amount or as disputed, or (c) for which a proof of claim in a
liquidated amount has been timely filed with the Bankruptcy Court pursuant to the Bankruptcy Code,
any Final Order of the Bankruptcy Court or other applicable bankruptcy law, and as to which either
(i) no objection to its allowance has been filed within the periods of limitation fixed by the Plan, the
Bankruptcy Code or by any order of the Bankruptcy Court or (ii) any objection to its allowance has been
settled or withdrawn, or has been denied by a Final Order, or (d) that is expressly allowed in a liquidated
amount in the Plan. The amount of an Allowed Claim shall be the lesser of the amount stated in a proof
of claim filed for such Claim (if less than the amount scheduled for such Claim), the amount agreed to in
a written settlement, or the amount allowed by a Final Order. All Distributions on account of an
Allowed Claim will be made to the Claimholder of record on the Record Date.

       2.205 “Avoidance Actions” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, Causes of Action against Persons arising under sections 502, 510,
541, 542, 544, 545, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code, or under related state or
federal statutes and common law, including fraudulent transfer laws, whether or not litigation is
commenced to prosecute such Avoidance Actions.

        2.206 “Ballot” means the ballot form(s) that are distributed with the Disclosure Statement to
Claimholders with Claims in Classes that are impaired under the Plan and entitled to vote under
Articles III and V hereof in connection with the solicitation of acceptances of the Plan.

       2.207 “Bar Date” means the date or dates established by the Bankruptcy Court and/or
Bankruptcy Rule 3002 by which Proofs of Claim must be filed. The general bar date for proofs of claims
was July 3, 2017 for most creditors and governmental entities.

       2.208 “Business Day” means any day, excluding Saturdays, Sundays and legal holidays, on
which commercial banks are open for business in Fargo, North Dakota.


                                                    3
     Case 17-30112        Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                       Document      Page 38 of 69


         2.209 “Causes of Action” means, unless otherwise released under a prior Order of the
Bankruptcy Court or under the Plan, any and all actions, causes of action, suits, accounts, controversies,
agreements, promises, rights (including rights to legal remedies, equitable remedies, and payment),
claims, cross claims, third-party claims, interests, damages, debts, judgments, demands, obligations,
liabilities, defenses, offsets, powers, privileges, licenses, liens, indemnities, guaranties, and franchises of
any kind or character whatsoever, whether known, unknown, foreseen, unforeseen, existing, hereinafter
arising, reduced to judgment, not reduced to judgment, liquidated, unliquidated, fixed, contingent, non-
contingent, matured, unmatured, suspected, unsuspected, disputed, undisputed, secured, or unsecured,
and whether asserted or assertable directly or derivatively, arising before, on, or after the Petition Date,
in contract, tort, law, equity, or pursuant to any other theory of law or otherwise. Causes of Action also
include: (a) any rights of setoff, counterclaim, or recoupment and any claims under contracts or for
breaches of duties imposed by law or in equity; (b) the right to object to or otherwise contest Claims or
Equity Interests; (c) claims pursuant to section 362 or Chapter 5 of the Bankruptcy Code; (d) any claims
or defenses, including fraud, mistake, duress, and usury, and any other defenses set forth in section 558
of the Bankruptcy Code; and (e) any state law fraudulent transfer claim. For the avoidance of doubt, the
all Avoidance Actions and Preserved Claims are Causes of Action.

       2.210 “Claim” means a claim against the Debtor, whether or not asserted, as defined in section
101(5) of the Bankruptcy Code.

       2.211 “Claim Objection Deadline” means the date that is the first Business Day that is at least
180 calendar days after the Effective Date. For the avoidance of doubt, the Claim Objection Deadline
may be extended one or more times by the Bankruptcy Court.

       2.212 “Claims Agent” means Kurtzman Carson Consultants, LLC, the claims and noticing
agent of the Debtor.

       2.213 “Claimholder” means a holder of a Claim.

       2.214 “Claims Reserve” means remaining cash funds and Revested Assets held by the Plan
Administrator after payment in full of all Plan Administration Expenses, Allowed Administrative
Claims (including Professional Fee Claims and Administrative Tax Claims), Allowed Priority Tax
Claims, Allowed Claims in Class 2, and the First Interim Distribution to Class 3.

       2.215 “Class” means a category of Claimholders or Interestholders described in Article III and
V of the Plan.

       2.216 “Confirmation Date” means the date of entry of the Confirmation Order.

       2.217 “Confirmation Hearing” means the hearing before the Bankruptcy Court on
confirmation of the Plan and related matters under section 1128 of the Bankruptcy Code.

       2.218 “Confirmation Hearing Notice” means the notice of, among other things, the time for
submitting Ballots to accept or reject the Plan, the date, time and place of the Confirmation Hearing and
the time for filing objections to the confirmation of the Plan.

        2.219 “Confirmation Order” means the order entered by the Bankruptcy Court confirming in
all respects all of the provisions, terms and conditions of this Plan.


                                                      4
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 39 of 69


        2.220 “Creditors’ Committee” means the Official Committee of Unsecured Creditors
consisting of the Persons appointed to such Committee in the Chapter 11 case pursuant to section
1102(a) of the Bankruptcy Code and their appointed successors, as amended from time to time.

       2.221 “Disallowed Claim” means a Claim, or any portion thereof, that (a) has been disallowed
by a Final Order or (b) is scheduled at zero or as contingent, disputed or unliquidated and as to which a
Bar Date has been established, but no proof of claim has been filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court or
otherwise deemed timely filed under applicable law.

       2.222 “Disclosure Statement” means the written disclosure statement that relates to the Plan, as
approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code and Bankruptcy
Rule 3017, as such disclosure statement may be amended, modified or supplemented from time to time.

        2.223 “Disclosure Statement Approval Order” means a Final Order approving, among other
things, the Disclosure Statement.

        2.224 “Disputed Claim” means a Claim, or any portion thereof, that is neither an Allowed
Claim nor a Disallowed Claim, and includes, without limitation, a Claim that (a) has not been Scheduled
or is scheduled by the Debtor as unknown or as contingent, unliquidated or disputed for which a proof of
claim has been filed or (b) is the subject of an objection filed with the Bankruptcy Court and which
objection has not been withdrawn or resolved by a Final Order of the Bankruptcy Court. For the
avoidance of doubt, Statutory Insider Claims are Disputed Claims.

       2.225 “Distribution” means any distribution provided for in this Plan to holders of Allowed
Claims in full or partial satisfaction of such Allowed Claims.

       2.226 “Distribution Dates” means collectively, the First Distribution Date, any Subsequent
Distribution Date and the Final Distribution Date.

        2.227 “Effective Date” means the first Business Day that is thirty (30) calendar days following
the date of the entry of the entry of the order of confirmation. But if a stay of the confirmation order is in
effect on that date, the effective date will be the first Business Day after that date on which no stay of the
confirmation order is in effect, provided that the confirmation order has not been vacated.

         2.228 “Effective Date Unsecured Claim” means a Claim that is an unsecured Allowed Claim
that is that will be subject to treatment as Class 3 under the Plan.

       2.229 “Estate Assets” means all of the right, title and interest of the Debtor in and to property of
whatever type or nature (real, personal, mixed, tangible or intangible), including property of the
Debtor’s Estate. For the avoidance of doubt, all Causes of Action, Preserved Claims and Avoidance
Actions are included within Estate Assets.

      2.230 “Estate” means the bankruptcy estate of the Debtor arising pursuant to section 541 of the
Bankruptcy Code.

       2.231 “Exculpated Claim” means any Claim related to any act or omission in connection with,
derived from, based upon, related to or arising from the Debtor’s in or out-of-court sale and restructuring


                                                      5
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 40 of 69


efforts, the Chapter 11 Case, including the negotiation and performance of the IP Asset Sales, the sale
and liquidation of assets, formulation, preparation, dissemination, negotiation, filing, confirmation,
approval, implementation or administration of the Disclosure Statement, the Plan, the filing of the
Chapter 11 case, the pursuit of confirmation and consummation and the administration and
implementation of the Plan, or the Distribution of property under the Plan or any other related
agreement.

        2.232 “Exculpated Party” means each of: (a) the Debtor and (b) Creditors’ Committee and its
members in their capacity as such and with respect to clauses (a) through (b) such entities’ predecessors,
participants, successors and assigns, subsidiaries, affiliates, beneficial owners, managed accounts or
funds, current and former officers, directors, managers, principals, shareholders, direct and indirect
equity holders, members, partners (general and limited), employees, agents, advisory board members,
financial advisors, attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors and other Professionals.

         2.233 “Face Amount” means (a) when used in reference to a Disputed or Disallowed Claim, the
full stated amount claimed by the Claimholder in any proof of claim filed with the Bankruptcy Court,
and (b) when used in reference to an Allowed Claim, the allowed amount of such Claim.

      2.234 “Final Decree” means the order entered pursuant to section 350, of the Bankruptcy Code
and Bankruptcy Rule 3022 closing the Chapter 11 case.

        2.235 “Final Distribution Date” means the date(s) on which a final Distribution is made to
holders of Allowed Claims entitled to Distributions. The Final Distribution Date(s) shall be one or more
dates, as determined by the Plan Administrator, which is after the liquidation of all Estate Assets (other
than those assets abandoned by the Debtor, Liquidating Debtor or the Plan Administrator, as applicable)
and the collection of other sums due or otherwise remitted or returned to the Estate.

       2.236 “Final Order” means an order or judgment, the operation or effect of which has not been
stayed, reversed or amended and as to which order or judgment (or any revision, modification or
amendment thereof) the time to appeal or seek review or rehearing has expired and as to which no
appeal or petition for review or rehearing was filed or, if filed, remains pending.

       2.237 “First Interim Distribution” means the initial Distribution to be made to holders of Class
3 Allowed Claims.

        2.238 “First Distribution Date” means with respect to a Claim that is Allowed as of the
Effective Date (i.e., Class 3 - Effective Date Unsecured Claims), the Effective Date or the date that is as
soon as reasonably practicable after the Effective Date.

        2.239 “Impaired” refers to any Claim or Equity Interest that is impaired within the meaning of
section 1124 of the Bankruptcy Code.

        2.240 “Equity Interest” means the rights of any current or former holder or owner of any shares
of common stock, preferred stock or any other equity securities of the Debtor authorized and issued
prior to the Confirmation Date, exclusive of any such interests held in treasury by the Debtor.

       2.241 “Interestholder” means a holder of an Equity Interest.


                                                    6
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 41 of 69


       2.242 “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended.

       2.243 “Liquidating Debtor” means the Debtor on and after the Effective Date.

       2.244 “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization or other entity.

     2.245 “Petition Date” means March 1, 2017, which is the date Debtor filed its petition
commencing its Chapter 11 case.

        2.246 “Plan” means the plan which is proposed by the Debtor for the resolution of outstanding
Claims and Equity Interests in the Chapter 11 case, as such plan may be amended or modified from time
to time in accordance with the Bankruptcy Code.

         2.247 “Plan Administration Expenses” means any and all reasonable and documented fees,
costs, and expenses incurred by the Plan Administrator (or any Person engaged by the Plan
Administrator to effect Distributions or otherwise assist the Plan Administrator with its duties under the
Plan) in connection with any of its duties under the Plan, including (i) any administrative fees;
(ii) attorneys’ or other professionals’ fees and expenses of the Plan Administrator; (iii) insurance fees;
(iv) taxes; (v) fees payable under 28 U.S.C. § 1930; (vi) costs associated with any maintenance,
liquidation, and administration of any going concern as part of the wind down of the Debtor’s business
operations; (vii) costs to maintain any Revested Assets while they are held for sale or otherwise
liquidated; (viii) fees incurred in connection with the making of Distributions; and (ix) fees, costs, and
expenses incurred in prosecution of Causes of Action, Preserved Claims and Avoidance Actions.

       2.248 “Plan Administrator” means the Person designated for such position in the Plan
Supplement or such other Person appointed in accordance with Section 7.2(a) of the Plan, acting
pursuant to the authority granted under Section 7.2(c) of the Plan.

       2.249 “Plan Supplement” means the compilation of documents and forms of documents,
schedules and Exhibits to the Plan to be filed no later than seven (7) days before the Confirmation
Hearing, on notice to parties in interest, and additional documents filed before the Effective Date as
supplements or amendments to the Plan Supplement. The Debtor shall have the right to amend the
documents contained in, and Exhibits to, the Plan Supplement through the Effective Date.

        2.250 “Preserved Claims” means all Causes of Action (including Avoidance Actions) of the
Debtor or the Estate, but excluding all Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court. The failure to specifically identify in the Disclosure Statement or
the Plan any potential or existing Causes of Action as a Preserved Claim is not intended to and shall not
limit the rights of the Plan Administrator to pursue any such Causes of Action. The Debtor expressly
reserves all Causes of Action, other than those Causes of Action that are expressly waived, relinquished,
released, compromised, or settled in the Plan, pursuant to the Confirmation Order, or pursuant to any
other order of the Bankruptcy Court, as Preserved Claims for later adjudication, and no preclusion
doctrine (including the doctrines of res judicata, collateral estoppel, judicial estoppel, equitable estoppel,
issue preclusion, claim preclusion, and laches) shall apply to such Causes of Action as Preserved Claims
on or after the Effective Date.


                                                      7
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 42 of 69


       2.251 “Post-Effective Date Unsecured Claim” means a Claim that is an unsecured Disputed
Claim that is that will be subject to treatment as Class 4 under the Plan.

       2.252 “Priority Claim” means an unsecured Claim that is entitled to payment before other
unsecured creditors in accordance with section 507 of the Bankruptcy Code.

         2.253 “Priority Non-Tax Claim” means any Claim of a kind specified in section 507(a)(3), (4),
(5), (6), (7) or (9) of the Bankruptcy Code.

       2.254 “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in
sections 502(i) or 507(a)(8) of the Bankruptcy Code.

        2.255 “Pro Rata” means, at any time, the proportion that the Face Amount of a Claim in a
particular Class bears to the aggregate Face Amount of all Claims (including Disputed Claims, but
excluding Disallowed Claims) in such Class, unless the Plan provides otherwise.

       2.256 “Professional” means a professional retained in the Chapter 11 case pursuant to sections 327,
328 and 1103 of the Bankruptcy Code, or otherwise.

       2.257 “Professional Fee Claim” means a Claim of a Professional for compensation or
reimbursement of costs and expenses relating to services rendered after the Petition Date and prior to
and including the Effective Date.

       2.258 “Record Date” means the date that is two (2) Business Days after the entry of an order by
the Bankruptcy Court approving the Disclosure Statement.

         2.259 “Released Party” means each of: (a) the Debtor; (b) the Creditors’ Committee and its
members in their capacity as such; and (c) with respect to each of the foregoing entities in clauses (a)
through (b), each and all of such entities’ direct and indirect current and former: equity holders,
affiliates, predecessors, participants, successors and assigns, parents, subsidiaries, partners (including
general partners and limited partners), managed accounts or funds, management companies, fund
advisors, investors, beneficial owners, managing members, directors, managers, officers, principals,
advisory board members, controlling persons, employees, agents, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives and other professionals, advisors, and
representatives, and each and all of their respective heirs, successors, and legal representatives.

        2.260 “Releasing Parties” means each of (a) Wells Fargo, (b) the Interestholders, (c) all holders
of Claims or Equity Interests; and (c) with respect to each of the foregoing entities in clauses (a) through
(b), each and all of such entities’ direct and indirect current and former: equity holders, affiliates,
predecessors, participants, successors and assigns, parents, subsidiaries, partners (including general
partners and limited partners), managed accounts or funds, management companies, fund advisors,
investors, beneficial owners, managing members, directors, managers, officers, principals, advisory
board members, controlling persons, employees, agents, financial advisors, partners, attorneys,
accountants, investment bankers, consultants, representatives and other professionals, advisors, and
representatives, and each and all of their respective heirs, successors, and legal representatives.

       2.261 “Revested Assets” means all Estate Assets and includes Causes of Action, Preserved
Claims and Avoidance Actions.


                                                     8
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 43 of 69


       2.262 “Statutory Insider” means any individual or entity within the meaning of Section
101(31) of the Bankruptcy Code and includes but is not limited to the following for purposes of this
Plan: Anderson, Bottrell, Sanden, & Thompson Law firm, Barrier Lake Investments, LLC Diamond B
Technology Solutions, LLC, Sales Floor Live, LLC, TGC, LP, and Vanity, Inc.

        2.263 “Statutory Insider Claim” means a Claim by a Statutory Insider, including but not
limited to for purposes of this Plan the Claims of TGC, LP filed as proof of claim number 281, Sales
Floor Live, LLC filed as proof of claim numbers 284 and 303, Diamond B Technology Solutions, LLC
filed as proof of claim numbers 280 and 299, Bottrell Family Investments, LP filed as proof of claim
numbers 285 and 304.

      2.264 “Subsequent Interim Distribution” means a Distribution made by the Plan
Administrator subsequent to the First Interim Distribution.

       2.265 “Subsequent Distribution Date” means any date, as determined by the Plan
Administrator which is after the First Distribution Date and prior to the Final Distribution Date, on
which the Plan Administrator commences a Distribution to Holders of Allowed Claims pursuant to the
Plan.

        2.266 “Tax Refunds” means the Claim of the Debtor for a refund of state or federal income
taxes other than any refund of state income taxes received by a Debtor prior to the Petition Date.

       2.267 “Unimpaired” refers to any Claim which is not Impaired.

      2.268 “U.S. Trustee” means the Office of the United States Trustee for the District of North
Dakota.

        2.269 “Wind Down End Date” means the date on which (a) the Plan Administrator determines
that the pursuit of additional Preserved Claims is not likely to yield sufficient additional proceeds to
justify further pursuit of such Preserved Claims or determines to abandon any remaining Revested
Assets, (b) all objections to Disputed Administrative Claims, Post-Effective Date Unsecured Claims,
and Disputed Priority Claims are fully resolved, (c) all Distributions required to be made by the Plan
Administrator have been made, (d) the Revested Assets have been liquidated, abandoned, or otherwise
administered under the Plan, and (e) the Plan Administrator either has obtained authority from the
Bankruptcy Court for the entry of the Final Decree or has been relieved of further duties pursuant to the
Plan.

        2.3    Governing Law. Unless a rule of law or procedure is supplied by federal law (including
the Bankruptcy Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State
of North Dakota, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction, and implementation of the Plan, any agreements, documents, instruments, or
contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control).

        2.4    Exhibits. All exhibits are incorporated into and are a part of the Plan as if set forth in full
herein and as may be filed with the Plan Supplement.




                                                      9
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 44 of 69


                                      ARTICLE III.
                        CLASSIFICATION OF CLAIMS AND INTERESTS

        Pursuant to section 1122 of the Bankruptcy Code, set forth below is a designation of classes of
Claims against and Equity Interests in the Debtor. A Claim or Equity Interest is placed in a particular
Class for the purposes of voting on the Plan and receiving Distributions pursuant to the Plan only to the
extent that such Claim or Equity Interest is an Allowed Claim in that Class and such Claim or Equity
Interest has not been paid, released or otherwise settled prior to the Effective Date. In accordance with
section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax Claims have not
been classified and their treatment is set forth in Article IV below.

       All Allowed Claims and Equity Interests are consolidated into the Classes set forth below.

         Class                  Description                Impairment                 Voting Status

      Unclassified         Administrative Claims            Unimpaired             Not entitled to vote

      Unclassified        Professional Fee Claims           Unimpaired             Not entitled to vote

      Unclassified           Priority Tax Claims            Unimpaired             Not entitled to vote

                                                                                   Not entitled to vote
        Class 1              Wells Fargo Bank               Unimpaired
                                                                                   (deemed to accept)

                            Convenience Class –
        Class 2              General Unsecured               Impaired                Entitled to Vote
                                  Claims

                           Effective Date Allowed
        Class 3                                              Impaired                Entitled to Vote
                             Unsecured Claims

                             Post-Effective Date
        Class 4                                              Impaired                Entitled to Vote
                             Unsecured Claims

                                                                                   Not Entitled to Vote
        Class 5                Equity Interests              Impaired
                                                                                    (deemed to reject)

                            ARTICLE IV.
TREATMENT OF UNCLASSIFIED ADMINISTRATIVE, PROFESSIONAL, AND PRIORITY
                            TAX CLAIMS

       4.1    Administrative Claims -- Professional Claims.

                a.     Final Professional Fee Claim Applications. All final requests for payment of
       Professional Fee Claims pursuant to Bankruptcy Code sections 327, 328, 330, 331, 363, 503(b),
       or 1103 must be made by application filed with the Bankruptcy Court and served on counsel to
       the Plan Administrator, counsel to the Creditors’ Committee, and the U.S. Trustee no later than
       the first Business Day that is thirty (30) calendar days after the Effective Date, unless otherwise


                                                    10
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 45 of 69


       ordered by the Bankruptcy Court (the "Administrative Claim Bar Date"). Objections to such
       applications must be filed and served on counsel to the Plan Administrator, counsel to the
       Creditors’ Committee, the U.S. Trustee, and the requesting Professional on or before the date
       that is twenty-one (21) calendar days after the date on which the applicable application was
       served (or such longer period as may be allowed by order of the Bankruptcy Court or by
       agreement with the requesting Professional). Any Professional Fee Claim not timely filed and
       asserted will be forever barred and discharged.

              b.     Payment of Professional Fee Claims. All Professional Fee Claims shall be paid by
       the Plan Administrator to the extent approved by order of the Bankruptcy Court within five (5)
       Business Days after entry of such order.

               c.     Post-Effective Date Services. After the Effective Date, any requirement that
       Professionals comply with sections 327 through 331 of the Bankruptcy Code in seeking retention
       or compensation for services rendered after such date shall terminate. The Plan Administrator
       shall pay any Professionals for Post-Effective Date services requested by the Plan Administrator.

        4.2    Administrative Claims –Administrative Tax Claims under section 503(b)(1)(B) and
(C) of the Bankruptcy Code. Allowed Administrative Claims under section 503(b)(1)(B) and (C) of
the Bankruptcy Code shall be paid in full by the Plan Administrator as soon as reasonably practicable
after the Effective Date. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.

        4.3    Priority Tax Claims. In full satisfaction, settlement, and release of and in exchange for
such Claims, Allowed Priority Tax Claims shall be paid by the Plan Administrator, at the Plan
Administrator’s option, as follows: (a) cash funds equal to the unpaid portion of the Face Amount of
such Allowed Priority Tax Claim on the later of the Effective Date or thirty (30) calendar days following
the date on which such Priority Tax Claim becomes an Allowed Priority Tax Claim; or (b) such other
treatment as to which the holder of an Allowed Priority Tax Claim and the Plan Administrator shall have
agreed upon in writing. Creditors with Allowed Administrative Claims as of the Record Date are
identified on Exhibit A.

        4.4     All Other Administrative Claims. Any person or entity who requests compensation or
expense reimbursement in the Chapter 11 case pursuant to section 503 of the Bankruptcy Code (other
than Professional Fee Claims, Administrative Tax Claims and Priority Tax Claims) must file an
application with the clerk of the Bankruptcy Court and serve such application on counsel for the Plan
Administrator and the U.S. Trustee no later than the first Business Day that is thirty (30) calendar days
after the Effective Date, unless otherwise ordered by the Court (the “Administrative Claim Deadline”),
or be forever barred from seeking such compensation or expense reimbursement. For the avoidance of
doubt, Section 503(b)(9) Claims are subject to this section 4.4 of the Plan and requesting claimants must
file an application unless its treatment is Allowed as of the Record Date as identified on Exhibit A.
Unless the Plan Administrator objects to an Administrative Claim, such Administrative Claim shall be
deemed an Allowed Administrative Claim in the amount requested. Objections to such applications must
be filed and served on counsel to the Plan Administrator, the U.S. Trustee, and the requesting claimant
on or before the date that is twenty-one (21) calendar days after the date on which the applicable
application was served (or such longer period as may be allowed by order of the Bankruptcy Court or by
agreement with the requesting claimant). All Allowed Administrative Claims (other than Professional


                                                   11
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 46 of 69


Fee Claims, Administrative Tax Claims and Priority Tax Claims) shall be paid by the Plan
Administrator within thirty (30) days of allowance by the Bankruptcy Court, unless appealed by the Plan
Administrator. Creditors with Allowed Administrative Claims as of the Record Date are identified on
Exhibit A

                                     ARTICLE V.
                      TREATMENT OF CLAIMS AND EQUITY INTERESTS

       5.1      Class 1 (Wells Fargo Bank, N.A.). Wells Fargo Bank, N.A. was paid in full during the
pendency of the Chapter 11 case. Wells Fargo has no further claim against the Debtor and will not
receive a Distribution under the Plan.

        5.2    Class 2 (Convenience Unsecured Claims). This class shall consist of unsecured
Allowed Claims not entitled to priority where the total of the unsecured Allowed Claim does not exceed
$1,500.00. Any unsecured creditor whose claim exceeds $1,500.00 may elect by voting on the Plan to be
treated as a Class 2 Convenience Class creditor by electing to reduce their Claim to $1,500.00. The
holders of Class 2 Allowed Claims will be paid a total of 50% of their Allowed Claims as soon as
reasonably practicable after the Effective Date. Such payments shall be in full satisfaction of each Class
2 Allowed Claim. The Debtor estimates that there are approximately $105,000 in Allowed Claims in
Class 2. Creditors with Class 2 Allowed Claims as of the Record Date are identified on Exhibit B.

        5.3     Class 3 (Effective Date Unsecured Claims). Except to the extent that a holder of a
Class 3 Allowed Claim agrees to a less favorable treatment, each holder of a Class 3 Allowed Claim
shall receive its Pro Rata share of the First Interim Distribution after payment in full of (or reserve for)
Plan Administration Expenses, all Allowed Administrative Claims as set forth in Article IV above
(including Professional Fee Claims, Administrative Tax Claims, and Priority Tax Claims), Allowed
Claims in Class 2, and the Claims Reserve. Subsequent Distributions on Class 3 Allowed Claims shall
be made as soon as reasonably practicable after the Effective Date and after the reconciliation of all
Class 4 Claims, unless the Plan Administrator, in its sole discretion, determines that an earlier
Distribution is practicable consistent with the Plan. Such Distributions shall be in full satisfaction of
each Class 3 Allowed Claim with the effective date of the satisfaction being the Final Distribution Date.
The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata based on the aggregate
Face Amount of all Allowed Claims in both classes. Creditors with Class 3 Allowed Claims as of the
Record Date are identified on Exhibit C.

         5.4     Class 4 (Post-Effective Date Unsecured Claims). Except to the extent that a holder of a
Class 4 Claim agrees to a less favorable treatment, each holder of a Class 4 Claim that becomes an
Allowed Claim shall receive its Pro Rata share of the Subsequent Interim Distributions after payment in
full of (or reserve for) Plan Administration Expenses, all Allowed Administrative Claims as set forth in
Article IV above (including Professional Fee Claims, Administrative Tax Claims, and Priority Tax
Claims), Allowed Claims in Class 2, and the First Interim Distribution on Class 3 Claims. Distributions
on Class 4 Allowed Claims shall be made as soon as reasonably practicable after the Effective Date and
after the reconciliation of all Class 4 Claims, unless the Plan Administrator, in its sole discretion,
determines that an earlier Distribution is practicable consistent with the Plan. Such Distributions shall be
in full satisfaction of each Class 4 Allowed Claim with the effective date of the satisfaction being the
Final Distribution Date. The holders of Allowed Claims in Class 3 and Class 4 shall be paid Pro Rata
based on the aggregate Face Amount of all Allowed Claims in both classes. For avoidance of doubt, all


                                                    12
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 47 of 69


Class 4 Claims and Statutory Insider Claims are considered Disputed Claims. Creditors with Class 4
Claims as of the Record Date are identified on Exhibit D.

       5.5     Class 5 (Equity Interests). The holders of Equity Interests in Class 5 shall have their
Equity Interests against the Debtor extinguished as of the Effective Date and shall receive no
Distributions under this Plan.

                                   ARTICLE VI.
                    UNEXPIRED LEASES AND EXECUTORY CONTRACTS

       6.1    Assumed Executory Contracts and Unexpired Leases. The Debtor assumes the
following executory contracts and/or unexpired leases still in effect upon the Effective Date of the Plan:

                      NONE

        6.2    Deemed Rejection on the Effective Date. On the Effective Date, the Debtor’s executory
contracts and unexpired leases will be conclusively deemed rejected. Section 6.2 does not apply to
executory contracts or unexpired leases that (a) were previously assumed or rejected by the Debtor or
are the subject of a pending assumption or rejection motion; (b) expired or terminated pursuant to their
own terms; or (c) are identified in Section 6.1 above as an executory contract to be assumed. The
Confirmation Order shall constitute an order of the Bankruptcy Court approving such rejections,
pursuant to section 365 of the Bankruptcy Code.

        6.3     Rejection Bar Date. If the rejection by the Debtor, pursuant to the Plan or otherwise, of
an executory contract or unexpired lease results in a Claim, then such Claim shall be forever barred and
shall not be enforceable against the Debtor, the Liquidating Debtor, the Plan Administrator or the
properties of any of them unless a proof of claim was filed with the Claims Agent within the time
allowed by the Bar Date or the Bankruptcy Court’s applicable order authorizing the Debtor to reject an
executory contract or unexpired lease; provided, however, that notwithstanding the foregoing, in the case
of an executory contract or unexpired lease "deemed rejected" pursuant to Section 6.2 of this Plan which
results in a Claim, such Claim shall be forever barred and shall not be enforceable against the Debtor,
the Liquidating Debtor, the Plan Administrator, the Estate or the properties of any of them unless a proof
of claim is filed with the Claims Agent and served upon counsel to the Plan Administrator within
thirty (30) days after the Effective Date.

                                     ARTICLE VII.
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        After the Effective Date, the Plan will be implemented by, among other things, the establishment
of the Plan Administrator, the retention of the Special Counsel, and the making of Distributions by the
Plan Administrator, as applicable, in accordance with the Plan.

       7.1     The Debtor’s Post-Effective Date Corporate Affairs.

       a.      Debtor’s Existing Directors, Officers, and Managers. On the Effective Date, the Debtor’s
       existing directors, officers, and managers shall be terminated automatically without the need for
       any corporate action or approval and without the need for any corporate filings, and shall have



                                                   13
Case 17-30112     Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                              Document      Page 48 of 69


 no continuing obligations to the Debtor or the Estate following the occurrence of the Effective
 Date.

 b.     Wind Down and Dissolution of the Debtor.

                (i) On the Effective Date, one new share of common stock will be issued to the
        Plan Administrator to hold in its capacity as Plan Administrator and as the sole
        shareholder of Debtorall Equity Interests shall be cancelled and one new share of
        Debtor’s common stock shall be issued to the Plan Administrator which will hold such
        share for the benefit of the holders of such former Equity Interests consistent with their
        former economic entitlements. Each holder of an Equity Interest shall neither receive nor
        retain any property or interest in property on account of such Equity Interests; provided
        however, that in the event that all Allowed Claims in Classes 2 through 4 have been
        satisfied in full in accordance with the Bankruptcy Code and the Plan, each holder of an
        Equity Interest may receive a pro rata equity share of any remaining assets of the Debtor
        consistent with such holder’s rights of priority of payment existing immediately prior to
        the Petition Date. The rights of the holders of former Equity interests in Debtor shall be
        nontransferable. Unless otherwise determined by the Plan Administrator, on the date that
        Debtor’s Chapter 11 case is closed, all such former Equity Interests in Debtor shall be
        deemed cancelled and of no force and effect provided that such cancellation does not
        adversely impact the Debtor’s Estate.

                (ii) After the Effective Date, the Plan Administrator may decide to (i) maintain
        the Debtor as a corporation in good standing until such time as all aspects of the Plan
        pertaining to Debtor have been completed, or (ii) at such time as the Plan Administrator
        considers appropriate and consistent with the implementation of the Plan, merge,
        dissolve, or otherwise terminate the existence of the Debtor and complete the winding
        down of the Debtor without the necessity for any other or further actions to be taken by
        or on behalf of the dissolving Debtor or any other Person or any payments to be made in
        connection therewith.

                (iii) On and after the Effective Date, pursuant to the Plan, the Plan Administrator
        shall have the right, but not the obligation, to wind down, sell, and otherwise liquidate all
        Revested Assets, including the Causes of Action, Preserved Claims and Avoidance
        Actions.

 c.     Corporate Documents and Corporate Authority.

               (i) As of the Effective Date, the certificate of incorporation, bylaws, or articles of
        organization, as applicable, of the Debtor and the Liquidating Debtor shall be deemed
        amended to the extent necessary to carry out the provisions of the Plan.

                (ii) The entry of the Confirmation Order shall constitute authorization for the
        Debtor, the Liquidating Debtor, and the Plan Administrator to take or cause to be taken
        all actions (including, if applicable, corporate actions) necessary or appropriate to
        implement all provisions of, and to consummate, the Plan prior to, on, and after the
        Effective Date and all such actions taken or caused to be taken shall be deemed to have



                                             14
Case 17-30112        Doc 640    Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                                Document      Page 49 of 69


        been authorized and approved by the Bankruptcy Court without further approval, act, or
        action under any applicable law, order, rule, or regulation.

 7.2    The Plan Administrator.

         a.      Appointment. On and after the Effective Date, the initial Plan Administrator
 identified in the Plan Supplementidentified in the Disclosure Statement shall become and serve
 as Plan Administrator. Mr. David Velde, an attorney with Velde Moore, LTD, 1118 Broadway,
 Alexandria, MN 56308 has been selected as the initial Plan Administrator.

         b.      Vesting of Revested Assets. On the Effective Date, the Debtor and its Estate shall
 irrevocably vest in the Liquidating Debtor for purposes of administration, by the Plan
 Administrator, of all of its respective rights, title, and interest in and to all Revested Assets, and
 in accordance with section 1141 of the Bankruptcy Code. For the avoidance of doubt, the
 Revested Assets include Causes of Action, Avoidance Actions and Preserved Claims. Except as
 specifically provided in the Plan or the Confirmation Order, the Revested Assets shall
 automatically vest in the Liquidating Debtor free and clear of all Claims, Liens, encumbrances,
 or interests, and such vesting shall be exempt from any stamp, real estate transfer, other transfer,
 mortgage reporting, sales, use, or other similar tax. The Plan Administrator shall be the exclusive
 representative of the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code
 regarding all Revested Assets.

         c.     Authority. The Plan Administrator shall have the sole authority and right on
 behalf of the Debtor, the Liquidating Debtor, and its Estate, without the need for Bankruptcy
 Court approval (unless otherwise indicated), to carry out and implement all provisions of the
 Plan, including to:

                i.        proceed to liquidate the Debtor’s estate for the best interests of the
                          creditors;

                i.ii.     review, reconcile, compromise, settle, or object to Administrative Claims
                          (including Professional Fee Claims, Administrative Tax Claims, and
                          Priority Tax Claims) and Claims in Class 2, Class 3, and Class 4 and
                          resolve such objections as set forth in the Plan;

                ii.iii.   calculate the amount of Distributions to be made to holders of Allowed
                          Administrative Claims (including Professional Claims, Administrative
                          Tax Claims, and Priority Tax Claims) and Allowed Claims in Class 2,
                          Class 3, Class 4, and Class 5 Claims in accordance with the Plan, and use
                          cash funds to make Distributions in accordance with the Plan;

                iv.       review, reconcile, enforce, collect, compromise, settle, or elect not to
                          pursue any or all Causes of Action, Avoidance Actions and Preserved
                          Claims or similar actions;

                iii.v.    provide a quarterly report to a three (3) person consultative committee of
                          unsecured creditors as established in section 10.2, identifying Causes of



                                              15
Case 17-30112     Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                               Document      Page 50 of 69


                       Action, Avoidance Actions and Preserved Claims or similar actions that
                       were pursued, settled and/or compromised;

                iv.vi. retain, compensate, and employ Professionals and other Persons to
                       represent the Plan Administrator with respect to and in connection with its
                       rights and responsibilities;

                v.vii. establish, maintain, and administer all documents and accounts of the
                       Liquidating Debtor as appropriate, which shall be segregated to the extent
                       appropriate in accordance with the Plan;

                vi.viii. maintain, conserve, supervise, prosecute, collect, settle, and protect the
                         Revested Assets (subject to the limitations described herein);

                vii.ix. sell, liquidate, transfer, assign, distribute, abandon, or otherwise dispose of
                        the Revested Assets or any part thereof upon such terms as the Plan
                        Administrator determines to be necessary, appropriate, or desirable in its
                        sole discretion;

                viii.x. invest cash funds of the Liquidating Debtor and the Estate, including any
                        cash realized from the liquidation of the Revested Assets;

                ix.xi. pay the Plan Administration Expenses;

                x.xii. the winding down of the remaining affairs of the Debtor (including, to the
                       extent not already terminated, the 401K and other employee health and
                       benefit plans of the Debtor);

                xi.xiii. prepare and file any and all informational returns, reports, statements,
                         returns, and other documents or disclosures relating to the Debtor or the
                         Liquidating Debtor that are required under the Plan, by any governmental
                         unit, or by applicable law;

                xii.xiv. take such actions as are necessary or appropriate to close or dismiss the
                         Chapter 11 case;

                xiii.xv. comply with the Plan, exercise the Plan Administrator’s rights, and
                         perform the Plan Administrator’s obligations;

                xiv.xvi.       exercise such other powers as deemed by the Plan Administrator to
                        be necessary and proper to implement the provisions of the Plan;

                xv.xvii.       execute any and all documents and instruments necessary to
                        effectuate the provisions of the Plan;

                xvi.xviii.     amendment of any Liquidating Debtor’s organizational documents
                        and dissolution of the Liquidating Debtor under applicable state law; and



                                              16
Case 17-30112         Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                                Document      Page 51 of 69


                xvii.xix.       To the extent necessary to give full effect to its exclusive
                        administrative rights and duties under the Plan, the Plan Administrator
                        shall be deemed to be vested with all rights, powers, privileges, and
                        authorities of (i) a board of directors or an appropriate corporate officer of
                        the Liquidating Debtor under any applicable non-bankruptcy law and (ii) a
                        “trustee” of the Liquidating Debtor under sections 704 and 1106 of the
                        Bankruptcy Code.

        d.      Tax Reporting.

                i.       The Plan Administrator shall file any and all tax returns for the
                         Liquidating Debtor and the Estate, as applicable, provided however, the
                         Plan Administrator shall have no personal liability for the signing or
                         accuracy of the Debtor’s or Liquidating Debtor’s tax returns that are due
                         to be filed after the Effective Date or for any tax liability related thereto.

                ii.      The Plan Administrator shall be responsible for payment, out of the
                         Revested Assets, of any taxes imposed on the Liquidating Debtor or the
                         Revested Assets.

                iii.     The Plan Administrator shall distribute such tax-related notices to the
                         applicable holders of Allowed Claims as the Plan Administrator
                         determines are necessary or desirable.

         e.    Disbursing Agent. The Plan Administrator shall serve as the disbursing agent for
 all Allowed Claims under the Plan.

        f.      Preservation of All Causes of Action, Avoidance Actions, and Preserved Claims.
 The Plan Administrator shall have the exclusive right, on behalf of the Estate, to institute, file,
 prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all Causes of
 Action, Avoidance Actions and Preserved Claims without any further order of the Bankruptcy
 Court, except as otherwise provided herein. From and after the Effective Date, the Plan
 Administrator, in accordance with section 1123(b)(3) of the Bankruptcy Code, shall serve as a
 representative of the Estate with respect to any and all Causes of Action, Avoidance Actions, and
 Preserved Claims and shall retain and possess the right to commence, pursue, settle,
 compromise, or abandon, as appropriate, any and all Causes of Acton, Avoidance Actions, and
 Preserved Claims in any court or other tribunal.

         g.      Removal of the Plan Administrator. The Plan Administrator may be removed for
 cause, as determined by an order of the Bankruptcy Court pursuant to a regularly-noticed motion
 by a party in interest in the Chapter 11 case.

        h.     Resignation of the Plan Administrator. The Plan Administrator may resign by
 giving not less than thirty (30) calendar days’ prior notice thereof in a notice filed in the
 Chapter 11 case.

         i.    Successor Plan Administrator. In the event the Plan Administrator is removed or
 resigns, or if the Plan Administrator otherwise vacates the position, a successor Plan


                                               17
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                     Document      Page 52 of 69


       Administrator shall be nominated by the Liquidating Debtor, with the appointment of such
       nominee as successor Plan Administrator effective upon filing a notice with the Bankruptcy
       Court. Any successor Plan Administrator appointed hereunder shall execute an instrument
       accepting such appointment and shall deliver such acceptance to the Bankruptcy Court.
       Thereupon, such successor Plan Administrator shall, without any further act, become vested with
       all the estates, properties, rights, powers, trusts, and duties of the predecessor Plan Administrator
       with like effect as if originally named herein; provided, however, that a removed or resigning
       Plan Administrator shall, nevertheless, when requested in writing by the successor Plan
       Administrator, execute and deliver any reasonable instrument or instruments conveying and
       transferring to such successor Plan Administrator all the estates, properties, rights, powers, trusts,
       and duties of such removed or resigning Plan Administrator.

             j.      Termination of the Plan Administrator. The Plan Administrator’s role as Plan
       Administrator shall be terminated on the Wind Down End Date.

                              ARTICLE VIII.
       PROVISIONS GOVERNING OBJECTIONS TO CLAIMS AND DISTRIBUTIONS

        8.1     Claims Administration Responsibility. The Plan Administrator shall retain sole
responsibility for administering, disputing, objecting to, compromising or otherwise resolving issues
related to Distributions to holders of all Claims.

        8.2    Resolution of Disputed Administrative Claims and Disputed Claims                    Less
thanExceeding $5,000 $250,000.. On and after the Effective Date, the Plan Administrator shall have the
authority to compromise, settle, otherwise resolve, or withdraw any objections to Administrative Claims
or Claims and to compromise, settle, or otherwise resolve any disputed Administrative Claims and
Disputed Claims without approval of the Bankruptcy Court, other than with respect to Administrative
Claims relating to compensation of Professionals. Notwithstanding the foregoing, the Plan
Administrator shall not have the authority to compromise, settle, or otherwise resolve any Disputed
Claims where the Face Amount of such Disputed Claim exceeds $250,000 without the majority
agreement of the Post-Confirmation Advisory Committee, if said committee can be formed, and subject
to Bankruptcy Court approval asserted by any insider of the Debtor or where the settled amount of such
Claim exceeds $5,000 if the compromise or settlement is not approved by a majority of the Post-
Confirmation Advisory Committee.

        8.3     Interest on Claims. Unless otherwise specifically provided for in the Plan or
Confirmation Order, or as required by section 506 of the Bankruptcy Code, post-Petition Date interest
shall not accrue or be paid on Claims, and no Claimholder shall be entitled to interest accruing on or
after the Petition Date on any Claim. Interest shall not accrue or be paid upon any Disputed Claim in
respect of the period from the Petition Date to the date a final Distribution is made thereon if and after
such Disputed Claim becomes an Allowed Claim.

        8.4    Withholding, Payment and Reporting Requirements Regarding Distributions. All
Distributions under the Plan shall, to the extent applicable, comply with all tax withholding, payment
and reporting requirements imposed by any federal, state, provincial, local or foreign taxing authority,
and all Distributions shall be subject to any such withholding, payment and reporting requirements. The
Plan Administrator shall be authorized to take any and all actions that may be necessary or appropriate


                                                    18
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                     Document      Page 53 of 69


to comply with such withholding, payment and reporting requirements including requiring each
Claimholder to provide a completed Form W-9 (or, if applicable, Form W-8) as set forth in Section 8.4
of this Plan. Notwithstanding any other provision of the Plan, (i) each Claimholder of an Allowed Claim
that is to receive a Distribution pursuant to the Plan shall have sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by a governmental unit, including income,
withholding and other tax obligations on account of such Distribution, and including, in the case of a
holder of a Disputed Claim that has become an Allowed Claim, any tax obligation that would be
imposed on the Revested Assets or Liquidating Debtor, as applicable, in connection with such
Distribution, and (ii) no Distribution shall be made to or on behalf of such holder pursuant to the Plan
unless and until such holder has made arrangements reasonably satisfactory to the Plan Administrator, as
applicable, for the payment and satisfaction of such withholding tax obligations or such tax obligation
that would be imposed in connection with such Distribution.

        8.5     Payments and Distributions With Respect to Classes 3 and 4; Claims Reserve. On
the Effective Date, the Plan Administrator shall establish the Claims Reserve. The Claims Reserve shall
vest in the Plan Administrator and shall be maintained by the Plan Administrator in accordance with the
Plan. Any recovery from Causes of Action, Avoidance Actions or Preserved Claims will be included in
the Claims Reserve.

        The Plan Administrator shall hold the Claims Reserve for the benefit of holders of Class 3 and
Class 4 Creditors whose Claims are Allowed and for the benefit of other parties entitled thereto under
the Plan. The amount of the Claims Reserve will be equal to the funds held in the Debtor in Possession
account as of the Effective Date, less the amounts on reserve for Plan Administration Expenses,
Allowed Administrative Claims as set forth in Article IV above (including Professional Fee Claims,
Administrative Tax Claims and Priority Tax Claims) and Allowed Class 2 Claims multiplied by the
percentage that represents the Face Amount of Class 4 Claims compared to the Face Amount of Claims
in Classes 3 and 4. Upon the allowance of any Class 4 Claims a Distribution on said Claims will be
made from the Claims Reserve equal to the percentage Pro Rata distribution received by Class 3 Claims
as a result of the First Interim Distribution. Allowed Claims in Class 3 and Class 4 shall be paid Pro
Rata based on the aggregate Face Amount of all Allowed Claims in both classes.

        Notwithstanding anything in the Plan to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided under the Plan shall be made on that portion of the Claim
that is Disputed unless and until such portion is Allowed.

        8.6     Delivery of Distributions. Distributions to holders of Allowed Claims, other than
Professional Fee Claims, shall be delivered by the Plan Administrator, (a) to the addresses set forth on
the proofs of claim filed by such Claimholders (or the address reflected in the Schedules if no proof of
claim is filed), (b) to the addresses set forth in any written notices of address changes delivered to the
Plan Administrator and filed with the Bankruptcy Court after the date of any related proof of claim, or
(c) in the case of a Claimholder whose Claim is governed by an agreement and is administered by an
agent or servicer, to the agent or servicer which shall then be responsible for making delivery of the
Distribution to such Claimholder.

       8.7    Uncashed Checks. Cash payments in the form of checks shall be null and void if not
cashed within sixty (60) calendar days after the date of issuance. Distributions in respect of such voided
checks shall be treated as unclaimed or undeliverable Distributions as provided in Section 8.8 of the


                                                    19
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45             Desc Main
                                      Document      Page 54 of 69


Plan. Requests for reissuance of any check must be made in writing to the Plan Administrator by the
Claimholder that originally was issued such check, which request shall be made within sixty (60)
calendar days after the date of issuance thereof.

        8.8     Unclaimed or Undeliverable Distributions. If the Distribution of any Claimholder,
other than Professional Fee Claims, is returned as undeliverable, no further Distributions to such
Claimholder shall be made unless and until the Plan Administrator is notified of such Claimholder’s
then-current address, provided, however, that unless a Claimholder asserts a claim for an undeliverable
Distribution within 60 days after such Distribution is returned as undeliverable, such Distribution shall
be deemed unclaimed property under section 347(b) of the Bankruptcy Code and all title to and
beneficial interest in such undeliverable Distribution shall revert to and/or remain in either the Revested
Assets automatically and without any need for further order by the Bankruptcy Court for all purposes,
including for redistribution to other holders of Allowed Claims, notwithstanding any federal, provincial
or state escheat, abandoned or unclaimed property laws to the contrary. If a Claimholder timely provides
the Plan Administrator the necessary information within the period specified herein, all missed
Distributions shall be made to the Claimholder as soon as is practicable, without interest.

       8.9    Minimum Distribution. Notwithstanding any other provision of the Plan, the Plan
Administrator or other disbursing agent will not be required to make Distributions of Cash less than
$50.00 in value with the exception of Claimholders in Class 2 – Convenience General Unsecured
Claims.

        8.10 Manner of Payment Under this Plan. The Distributions made pursuant to this Plan
shall be made by checks drawn on domestic banks selected by the Plan Administrator or in the Plan
Administrator’s sole discretion, by wire transfer from a domestic bank selected by the Plan
Administrator.

       8.11 Post-Final Distribution Assets. Any assets received by the Plan Administrator after the
final Distribution is made shall be distributed Pro Rata to the holders of Class 3 and Class 4 Allowed
Claims unless the Plan Administrator determines, in his, her or its sole discretion, that the remaining
Revested Assets are insufficient or it is otherwise impracticable to make any further or supplemental
Distribution.

                             ARTICLE IX.
STATUTORY INSIDER CLAIMS AND CAUSES OF ACTIONRETENTION OF COUNSEL BY
                         PLAN ADMINISTRATOR

        9.1    Retention of Special Counsel. On and after the Effective Date, the Plan Administrator
shall retain the Special Counselcounsel as necessary and appropriate to analyze, object to, and/or
prosecute the Claims, of Statutory Insiders and possible Causes of Action, against Statutory
Insidersand to take such other actions as are required to permit the Plan Administrator to fulfill his or her
duties under the Plan.

        9.2     Claims by Statutory Insiders. The Special Counsel will analyze and/or object to any
Administrative Claim filed by a Statutory Insider, including but not limited to, an Administrative Claim
filed by Bottrell Family Investments, LP, Sales Floor Live, LLC, and Diamond B Technology Solutions,
LLC. Claims of Statutory Insiders of the Debtor are included in Class 4 and shall also be analyzed



                                                     20
     Case 17-30112        Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45              Desc Main
                                      Document      Page 55 of 69


and/or objected to by the Special Counsel. Statutory Insider Claims include the unsecured claims of
TGC, LP, Bottrell Family Investments, LP, Sales Floor Live, LLC and Diamond B Technology
Solutions, LLC.

       9.3     Causes of Action Against Statutory Insiders. The Special Counsel will analyze and
determine if prosecution of any Causes of Action, including Preserved Claims and Avoidance Actions,
are appropriate.

                                  ARTICLE X.
           SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

        10.1 Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
Distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute
(a) a good faith compromise of all Claims, Equity Interest, and controversies relating to the contractual,
legal and subordination rights that a holder of a Claim may have with respect to any Allowed Claim or
any Distribution to be made on account of such Allowed Claim with the effective date of the
compromise of any Claim being the date of the final Distribution on the same, and (b) a good faith
compromise of all Claims and Causes of Action the Debtor, Creditors’ Committee or any Person that
could bring such Cause of Action on their behalf against the Released Parties. The entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of
all such Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that
such compromise or settlement is in the best interest of the Debtor, its Estate and holders, and is fair,
equitable and reasonable. In accordance with the provisions of the Plan, pursuant to section 363 of the
Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to or action, order or
approval of the Bankruptcy Court, after the Effective Date, the Plan Administrator may compromise and
settle Claims against the Debtor and Causes of Action against other Persons including Statutory Insiders,
subject to the provisions of Sections 8.2 and 10.2.

        10.2 Post-Confirmation Advisory Committee. Within ten (10) days after entry of the
Confirmation Order, the Debtor, in consultation with the Creditors’ Committee, will establish a Post-
Confirmation Advisory Committee consisting of three (3) unsecured creditor representatives that are
willing to serve in an advisory capacity to the Plan Administrator. The Post-Confirmation Advisory
Committee members will agree to serve free of charge and may retain counsel at their own cost which
shall not be passed along to the Debtor’s Estate. The Plan Administrator will provide a quarterly report
to the Post-Confirmation Advisory Committee and will consult and receive the majority approval of the
Post-Confirmation Advisory Committee members of any compromise or settlement where the amount of
such Disputed Claim or Cause of Action exceeds $250,000, subject to Bankruptcy Court approval if the
compromise or settlement is not approved by a majority of the Post-Confirmation Advisory Committee.

        10.210.3       Release of Liens. Except as otherwise provided in the Plan or in any contract,
instrument, release or other agreement or document created pursuant to the Plan, on the Effective Date
and concurrently with the applicable Distributions made pursuant to the Plan, all liens, pledges, or other
security interests against any property of the Estate shall be fully released, and all of the right, title and
interest of any holder of such lien, pledges or other security interest shall revert to the Estate and its
successors and assigns.



                                                     21
     Case 17-30112      Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                    Document      Page 56 of 69


     10.310.4  Releases by Holders. OTHER THAN AS TO THE RIGHTS AND
LIABILITIES PROVIDED FOR IN THE PLAN, AS OF THE EFFECTIVE DATE OF THE
PLAN, EACH AND ALL OF THE RELEASING PARTIES SHALL BE DEEMED TO
CONCLUSIVELY, ABSOLUTELY, EXPRESSLY, UNCONDITIONALLY, IRREVOCABLY,
GENERALLY AND INDIVIDUALLY AND COLLECTIVELY, RELEASE, AND ACQUITTED
EACH AND ALL OF THE RELEASED PARTIES AND THEIR RESPECTIVE PROPERTY
FROM ANY AND ALL ACTIONS, CLAIMS, EQUITY INTERESTS, OBLIGATIONS,
RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION, REMEDIES AND LIABILITIES
WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS ASSERTED OR ASSERTABLE
AGAINST OR ON BEHALF OF ANY OR ALL OF THE RELEASED PARTIES, WHETHER
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, MATURED OR UNMATURED,
EXISTING OR HEREAFTER ARISING, IN LAW, EQUITY, CONTRACT, TORT OR
OTHERWISE, BY STATUTE OR OTHERWISE, THAT SUCH RELEASING PARTY
(WHETHER INDIVIDUALLY OR COLLECTIVELY) EVER HAD, NOW HAS OR
HEREAFTER CAN, SHALL OR MAY HAVE, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTOR, THE DEBTOR’S
LIQUIDATION, THE CHAPTER 11 CASE, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT IS
TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
BETWEEN THE DEBTOR AND ANY RELEASED PARTY, THE RESTRUCTURING OF
CLAIMS AND INTERESTS BEFORE OR DURING THE CHAPTER 11 CASE, INCLUDING
THE NEGOTIATION, FORMULATION, PREPARATION OR PERFORMANCE OF THE
STORE CLOSING SALES, THE IP ASSET SALES, THE PLAN, THE DISCLOSURE
STATEMENT, OR RELATED AGREEMENTS, INSTRUMENTS OR OTHER DOCUMENTS
OR ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE OF THE PLAN
RELATING TO THE DEBTOR OR THE DEBTOR’S ESTATES, EXCEPT FOR ANY CLAIMS
AND CAUSES OF ACTION FOR ACTUAL FRAUD, WILLFUL MISCONDUCT OR GROSS
NEGLIGENCE. THE EFFECTIVE DATE OF SUCH RELEASE AS TO ANY CLAIM SHALL
BE THE DATE OF THE FINAL DISTRIBUTION ON THE CLAIM. FOR THE AVOIDANCE
OF DOUBT, THE DEBTOR IS NOT A “RELEASING PARTY” AND IS NOT RELEASING
ANY CLAIMS AGAINST THIRD PARTIES OR THE STATUTORY INSIDERS.

       10.410.5        Liabilities to, and Rights of, Governmental Units. Nothing in the Plan or
Confirmation Order shall release, or preclude: (1) any liability to a Governmental Unit that is not a
Claim; (2) any Claim of a Governmental Unit arising on or after the Effective Date; (3) any liability to
a Governmental Unit on the part of any Person or Entity other than the Debtor or Plan Administrator;
(4) any valid right of setoff or recoupment by a Governmental Unit; or (5) any criminal liability.
Nothing in the Plan or Confirmation Order shall enjoin or otherwise bar any Governmental Unit
from asserting or enforcing, outside the Bankruptcy Court, any liability described in the preceding
sentence. The injunction provisions contained in the Plan and Confirmation Order are not intended
and shall not be construed to bar any Governmental Unit from, after the Effective Date, pursuing
any police or regulatory action.

    10.510.6 Exculpation. EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED IN
THE PLAN, NO EXCULPATED PARTY SHALL HAVE OR INCUR, AND EACH
EXCULPATED PARTY IS HEREBY RELEASED AND EXCULPATED FROM ANY


                                                  22
   Case 17-30112   Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45   Desc Main
                             Document      Page 57 of 69


EXCULPATED CLAIM, OBLIGATION, CAUSE OF ACTION OR LIABILITY FOR ANY
EXCULPATED CLAIM, EXCEPT FOR FRAUD, GROSS NEGLIGENCE OR WILLFUL
MISCONDUCT, BUT IN ALL RESPECTS SUCH ENTITIES SHALL BE ENTITLED TO
RAISE ANY AFFIRMATIVE DEFENSES, INCLUDING REASONABLE RELIANCE UPON
THE ADVICE OF COUNSEL WITH RESPECT TO THEIR DUTIES AND
RESPONSIBILITIES PURSUANT TO THE PLAN. THE DEBTOR (AND ITS RESPECTIVE
AFFILIATES, AGENTS, DIRECTORS, OFFICERS, EMPLOYEES, ADVISORS AND
ATTORNEYS) HAVE PARTICIPATED IN GOOD FAITH AND IN COMPLIANCE WITH
THE APPLICABLE LAWS AND PROVISIONS OF THE BANKRUPTCY CODE WITH
REGARD TO THE SOLICITATION OF VOTES AND TRANSFER OF DEBTOR’S ESTATE
ASSETS PURSUANT TO THE PLAN AND, THEREFORE, ARE NOT, AND ON ACCOUNT
OF SUCH TRANSFER SHALL NOT BE, LIABLE AT ANY TIME FOR THE VIOLATION OF
ANY APPLICABLE LAW, RULE OR REGULATION GOVERNING THE SOLICITATION OF
ACCEPTANCES OR REJECTIONS OF THE PLAN OR THE TRANSFER OF ESTATE
ASSETS PURSUANT TO THE PLAN.

     10.610.7   Injunction. FROM AND AFTER THE EFFECTIVE DATE, EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR RELATED DOCUMENTS, ALL
ENTITIES ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THE PLAN OR THE CONFIRMATION ORDER. EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN OR RELATED DOCUMENTS, OR IN OBLIGATIONS ISSUED
PURSUANT TO THE PLAN, ALL ENTITIES WHO HAVE HELD, HOLD OR MAY HOLD
CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED PURSUANT TO
SECTION 10.3 4 OF THE PLAN, OR ARE SUBJECT TO EXCULPATION PURSUANT TO
SECTION 10.5 6 OF THE PLAN ARE PERMANENTLY ENJOINED, FROM AND AFTER
THE EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (1)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (2) ENFORCING, ATTACHING,
COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (3)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
OR INTERESTS; (4) ASSERTING ANY RIGHT OF SETOFF, SUBROGATION, OR
RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH ENTITIES
OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS
UNLESS SUCH HOLDER HAS FILED A MOTION REQUESTING THE RIGHT TO
PERFORM SUCH SETOFF ON OR BEFORE THE EFFECTIVE DATE, AND
NOTWITHSTANDING AN INDICATION OF A CLAIM OR INTEREST OR OTHERWISE
THAT SUCH HOLDER ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF
SETOFF PURSUANT TO APPLICABLE LAW OR OTHERWISE; AND (5) COMMENCING
OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY



                                        23
   Case 17-30112   Doc 640   Filed 04/09/18 Entered 04/09/18 16:59:45   Desc Main
                             Document      Page 58 of 69


KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS RELEASED OR SETTLED PURSUANT TO THE PLAN.

     10.710.8  FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF
THE RELEASE AND EXCULPATION GRANTED IN ARTICLE X OF THE PLAN, THE
DEBTOR AND HOLDERS OF CLAIMS OR EQUITY INTERESTS SHALL BE
PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER
AGAINST THE RELEASED PARTIES AND THE EXCULPATED PARTIES AND THEIR
ASSETS AND PROPERTIES, AS THE CASE MAY BE, ANY SUIT, ACTION OR OTHER
PROCEEDING, ON ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,
OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST OR REMEDY RELEASED
OR TO BE RELEASED PURSUANT TO ARTICLE X OF THE PLAN.

     10.810.9  THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF
ALL CLAIMS OR EQUITY INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN
COMPLETE SATISFACTION OF CLAIMS OR EQUITY INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND AFTER
THE PETITION DATE, AGAINST THE DEBTOR OR ANY OF ITS ASSETS, OR ESTATE
ASSETS. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS AGAINST THE DEBTOR
SHALL BE FULLY RELEASED AND THE EQUITY INTERESTS SHALL BE CANCELLED.
THE EFFECTIVE DATE OF SUCH SATISFACTION AS TO ANY CLAIM SHALL BE THE
DATE OF THE FINAL DISTRIBUTION ON THE CLAIM.

     10.910.10 EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR HEREIN OR
IN OBLIGATIONS ISSUED PURSUANT HERETO FROM AND AFTER THE EFFECTIVE
DATE, ALL CLAIMS SHALL BE FULLY RELEASED, AND THE INTERESTS SHALL BE
CANCELLED, AND THE DEBTOR’S LIABILITY WITH RESPECT THERETO SHALL BE
EXTINGUISHED COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED
UNDER SECTION 502(G) OF THE BANKRUPTCY CODE. THE EFFECTIVE DATE OF
SUCH RELEASE AS TO ANY CLAIM SHALL BE THE DATE OF THE FINAL
DISTRIBUTION ON THE CLAIM.

     10.1010.11 ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST
THE DEBTOR, THE DEBTOR’S ESTATE, THE CREDITORS’ COMMITTEE THE PLAN
ADMINISTRATOR, EACH OF THEIR RESPECTIVE SUCCESSORS AND ASSIGNS AND
EACH OF THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS
BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED
BEFORE THE EFFECTIVE DATE. WITHOUT LIMITING THE GENERALITY OF THE
FOREGOING, ON OR AFTER THE EFFECTIVE DATE, EXCEPT AS OTHERWISE
PROVIDED HEREIN OR IN A PRIOR ORDER OF THE BANKRUPTCY COURT, A CLAIM
MAY NOT BE FILED OR AMENDED WITHOUT THE PRIOR AUTHORIZATION OF THE
BANKRUPTCY COURT OR THE CONSENT OF THE PLAN ADMINISTRATOR. ABSENT
SUCH AUTHORIZATION OR CONSENT, ANY NEW OR AMENDED CLAIM FILED SHALL
BE DEEMED DISALLOWED IN FULL AND EXPUNGED WITHOUT FURTHER ORDER OF
THE BANKRUPTCY COURT.



                                        24
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 59 of 69


       10.1110.12     Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Chapter 11 case pursuant to sections 105 or
362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation Date
(excluding any injunctions or stays contained in the Plan or the Confirmation Order), shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

        10.1210.13     Compromises and Settlements. Pursuant to Bankruptcy Rule 9019(a), the
Debtor may compromise and settle various (a) Claims against it, and (b) Causes of Action that it may
have against other Persons. The Debtor expressly reserves the right (with Bankruptcy Court approval,
following appropriate notice and opportunity for a hearing) to compromise and settle up to and including
the Effective Date, Claims against it and Causes of Action that it may have against other Persons. After
the Effective Date, such right shall pass exclusively to the Plan Administrator to which such claims shall
be conveyed pursuant to the Plan.

        10.1310.14     Cancellation of Agreements. On the Effective Date, except to the extent of a
right to receive a Distribution under this Plan and as otherwise provided herein, any note, bond,
indenture or other instrument or document evidencing or creating any indebtedness or obligation of the
Debtor shall be deemed automatically cancelled; provided, however, that each agreement that governs
the rights of the Claimholder and that is administered by an agent or a servicer, shall continue in effect
solely for the purposes of allowing such agent or servicer to make the Distributions to be made on
account of such Claims or Equity Interests under the Plan.

       10.1410.15      Objections to Claims. The failure by the Debtor, Liquidating Debtor or the Plan
Administrator to object to, or examine, any Claim or Equity Interest for purposes of voting shall not be
deemed a waiver of any such entities’ right to object to (to the extent of any Claim that is not expressly
Allowed in the Plan) or reexamine the Claim or Equity Interest in whole or in part for any other purpose,
including but not limited to, distribution of property.

        10.1510.16     Setoff. Notwithstanding anything herein, in no event shall any Claimholder be
entitled to setoff any Claim against any claim, right, or cause of action of the Debtor, unless such
Claimholder preserves its right to set off by (i) including in a timely-filed proof of claim that it intends
to preserve any right of setoff pursuant to section 553 of the Bankruptcy Code or otherwise or (ii) filing
a motion for authority to effect such setoff on or before the Confirmation Date (regardless of whether
such motion is heard prior to or after the Confirmation Date).

                                          ARTICLE XI.
                                     CONDITIONS PRECEDENT

       11.1 Conditions to Confirmation. The following are conditions precedent to confirmation of
the Plan that may be satisfied or waived in accordance with Section 11.3 of the Plan:

       a.      The Plan and Confirmation Order shall be in form and substance reasonably acceptable to
               the Debtor;

       b.      The Plan Supplement shall have been filed;




                                                    25
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 60 of 69


       c.      The Plan Administrator shall have been selected and shall have indicated his or her
               agreement to serve under the terms of the Plan; and

       d.      The Special Counsel shall have been selected and shall have indicated his or her
               agreement to serve under the terms of the Plan.

        11.2 Conditions to Effective Date. The following are conditions precedent to the occurrence
of the Effective Date, each of which may be satisfied or waived in accordance with Section 11.3 of the
Plan:

       a.      The Confirmation Order shall have been entered by the Bankruptcy Court and such
               Confirmation Order and have become a Final Order (unless the Final Order requirement
               is waived by the Debtor); and

       b.      No stay shall be in effect with respect to the Confirmation Order.

        11.3 Waiver of Conditions to Confirmation and Effective Date. The conditions set forth in
Sections 11.1 and 11.2 of the Plan may be waived by the Debtor, without any notice to any other parties
in interest or the Bankruptcy Court and without a hearing. The failure to satisfy or waive any condition
to the Confirmation Date or the Effective Date may be asserted by the Debtor regardless of the
circumstances giving rise to the failure of such condition to be satisfied (including any action or inaction
by the Debtor). The failure of the Debtor to exercise any of the foregoing rights shall not be deemed a
waiver of any other rights, and each such right shall be deemed an ongoing right, which may be asserted
at any time.

                                        ARTICLE XII.
                                  RETENTION OF JURISDICTION

       12.1 Pursuant to sections 105(a) and 1142 of the Bankruptcy Code, the Bankruptcy Court shall
have exclusive jurisdiction of all matters arising out of, and related to, the Chapter 11 case and the Plan,
including, among other things, the following matters:

       a.      to hear and determine pending motions for the assumption and assignment of or rejection
               of executory contracts or unexpired leases to which the Debtor is a party or with respect
               to which the Debtor may be liable, and to hear and determine the allowance of Claims
               resulting therefrom;

       b.      to adjudicate any and all adversary proceedings, applications and contested matters that
               may be commenced or maintained pursuant to the Chapter 11 case or the Plan, including,
               without limitation, any actions to recover any transfers, assets, properties or damages to
               which the Debtor may be entitled under applicable contract provisions, the provisions of
               this Plan or under applicable provisions of the Bankruptcy Code or any other federal,
               state or local laws;

       c.      to ensure that Distributions to Allowed Claimholders are accomplished as provided
               herein;




                                                    26
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 61 of 69


       d.     to hear and determine any and all objections to the allowance or estimation of Claims
              filed both before and after the Confirmation Date, including any objections to the
              classification of any Claim or Equity Interest, and to allow or disallow any Claim in
              whole or in part;

       e.     to determine requests for the payment of Claims entitled to priority under section
              507(a)(2) of the Bankruptcy Code, including compensation of and reimbursement of
              expenses of parties entitled thereto;

       f.     to enter and implement such orders as may be appropriate if the Confirmation Order is
              for any reason stayed, revoked, modified or vacated;

       g.     to hear and determine disputes arising in connection with the interpretation,
              implementation or enforcement of the Plan, including disputes arising under agreements,
              documents or instruments executed in connection with the Plan or regarding the rights of
              the Plan Administrator;

       h.     to issue orders in aid of execution, implementation or consummation of the Plan;

       i.     to consider any modifications of the Plan, to cure any defect or omission, or to reconcile
              any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
              Confirmation Order;

       j.     to hear and determine all applications for compensation and reimbursement of
              Professional Claims under the Plan or under sections 330, 331, 503(b), 1103 and
              1129(a)(4) of the Bankruptcy Code;

       k.     to hear and determine matters concerning state, local and federal taxes in accordance with
              sections 346, 505 and 1146 of the Bankruptcy Code;

       l.     to hear any other matter not inconsistent with the Bankruptcy Code;

       m.     to hear and determine all disputes involving the existence, nature or scope of the releases
              provided for in the Plan;

       n.     to hear and determine any Claims of or against the Debtor;

       o.     to enforce all orders previously entered by the Bankruptcy Court; and

       p.     to enter a final decree closing the Chapter 11 case.

       Notwithstanding anything contained herein to the contrary, the Bankruptcy Court retains
exclusive jurisdiction to hear and determine disputes concerning Claims, Equity Interests, Causes of
Action, Avoidance Actions, Preserved Claims and any motions to compromise or settle such disputes.
Despite the foregoing, if the Bankruptcy Court is determined not to have jurisdiction with respect to the
foregoing, or if the Plan Administrator chooses to pursue any Causes of Action, Avoidance Action, or
Preserved Claim in another court of competent jurisdiction, the Plan Administrator will have authority to
bring such action in any other court of competent jurisdiction.


                                                   27
     Case 17-30112       Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                     Document      Page 62 of 69


                            ARTICLE XIII.
  ACCEPTANCE OR REJECTION OF THE PLAN; EFFECT OF REJECTION BY ONE OR
           MORE IMPAIRED CLASSES OF CLAIMS OR INTERESTS

        13.1 Impaired Classes of Claims and Interests Entitled to Vote. Claimholders in each
Impaired Class of Claims are entitled to vote as a class to accept or reject the Plan. The Claims Agent
will tabulate votes on the Plan.

        13.2 Acceptance by an Impaired Class. In accordance with section 1126(c) of the
Bankruptcy Code and except as provided in section 1126(e) of the Bankruptcy Code, an Impaired Class
of Claims shall have accepted the Plan if the Plan is accepted by the holders of at least two-thirds in
dollar amount and more than one-half (½) in number of the Allowed Claims of such Class that have
timely and properly voted to accept or reject the Plan.

        13.3 Presumed Acceptances by Unimpaired Classes. Class 1 Wells Fargo is Unimpaired by
the Plan. Under section 1126(f) of the Bankruptcy Code, Wells Fargo is conclusively presumed to
accept the Plan, and Wells Fargo’s vote will not be solicited.

       13.4 Class Deemed to Reject Plan. Holders of Class 5 Equity Interests will not receive any
Distribution, are not entitled to vote on the Plan and are conclusively presumed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code.

        13.5 Non-Consensual Confirmation. In the event that less than all Classes entitled to vote to
accept the Plan, the Debtor will seek Confirmation of the Plan under section 1129(b) of the Bankruptcy
Code.

        13.6 Confirmability and Severability of the Plan. The confirmation requirements of section
1129 of the Bankruptcy Code must be satisfied. A determination by the Bankruptcy Court that the Plan
is not confirmable pursuant to section 1129 of the Bankruptcy Code shall not limit or affect the Debtor’s
ability to modify the Plan to satisfy the confirmation requirements of section 1129 of the Bankruptcy
Code.

                                       ARTICLE XIV.
                                 MISCELLANEOUS PROVISIONS

        14.1 Binding Effect. The Plan shall be binding upon and inure to the benefit of the Debtor, the
Plan Administrator, all present and former Claimholders, all present Interestholders, other parties in
interest and their respective successors and assigns to the fullest extent permitted by section 1141(a) of
the Bankruptcy Code.

       14.2 Modification and Amendments. The Debtor may alter, amend or modify the Plan or
any Exhibits thereto under section 1127(a) of the Bankruptcy Code at any time prior to the Confirmation
Hearing. After the Confirmation Date and prior to the Effective Date, the Debtor, may, under section
1127(b) of the Bankruptcy Code, institute proceedings in the Bankruptcy Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation
Order, and such matters as may be necessary to carry out the purposes and effects of the Plan, so long as
such proceedings do not materially adversely affect the treatment of Claimholders or Interestholders
under the Plan; provided, however, that prior notice of such proceedings shall be served in accordance


                                                   28
     Case 17-30112       Doc 640      Filed 04/09/18 Entered 04/09/18 16:59:45            Desc Main
                                      Document      Page 63 of 69


with the Bankruptcy Rules or order of the Bankruptcy Court. From and after the Effective Date and prior
to substantial consummation of the Plan (as defined in section 1101(2) of the Bankruptcy Code), the
Plan Administrator may seek non-material modification or amendment of the Plan pursuant to this
paragraph.

        14.3 Creditors’ Committee. The Creditors' Committee shall continue in existence until the
Effective Date to exercise those powers and perform those duties specified in section 1103 of the
Bankruptcy Code, and shall perform such other duties as it may have been assigned by the Bankruptcy
Court prior to the Effective Date. From and after the Effective Date, the Creditors’ Committee shall exist
for the sole purposes of: (a) matters relating to any appeals or other challenges or matters with respect to
the Confirmation Order; (b) pursuing the Creditors’ Committee’s Professional Fee Claims; and
(c) appearing before and being heard by the Bankruptcy Court and other courts of competent jurisdiction
in connection with the above duties. Upon the conclusion of the foregoing duties, the Creditors'
Committee shall automatically dissolve and its members, Professionals and agents shall be deemed
released of all their duties, responsibilities and obligations in connection with the Chapter 11 case or the
Plan and its implementation, and the retention or employment of the Creditors’ Committee's attorneys
and other agents shall terminate. All expenses of Creditors' Committee members and the fees and
expenses of their Professionals through the Effective Date shall be paid in accordance with the terms and
conditions of this Plan and any order of the Bankruptcy Court.

       14.4 Causes of Action, Preserved Claims and Avoidance Actions. Unless otherwise
released under a prior Order of the Bankruptcy Court or under the Plan, all Causes of Action, Preserved
Claims and Avoidance Actions are hereby preserved for prosecution and enforcement by the Plan
Administrator. The Plan Administrator shall have no obligation to pursue any Causes of Action,
Preserved Claims or Avoidance Actions.

       14.5 Substantial Consummation. The Plan shall be deemed to be substantially consummated
on the first date Distributions are made in accordance with the terms of this Plan to any holders of
Allowed Claims of any Class.

       14.6 Revocation, Withdrawal or Non-Consummation Right to Revoke or Withdraw. The
Debtor reserves the right to revoke or withdraw the Plan at any time prior to the Effective Date.

        14.7 Severability of Plan Provisions. If prior to Confirmation any term or provision of this
Plan which does not govern the treatment of Claims or Equity Interests or the conditions to the Effective
Date is held by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court shall
have the power to alter and interpret such term or provision to make it valid and enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the terms
and provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a
judicial determination and shall provide that each term and provision of this Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

        14.8 U.S. Trustee’s Fees. All fees due and owing under 28 U.S.C. §1930 shall be paid on the
Effective Date and thereafter, as due, until the cases are closed, converted or dismissed and final


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     Case 17-30112       Doc 640       Filed 04/09/18 Entered 04/09/18 16:59:45           Desc Main
                                       Document      Page 64 of 69


decreed, from the Revested Assets. After confirmation, the Liquidating Debtor through the Plan
Administrator will file quarterly reports in the prescribed format for each quarter or part thereof that the
Chapter 11 case remains open.

        14.9 Notices. Pursuant to Bankruptcy Rule 2002 and any applicable local Bankruptcy Rules,
notice of all Post-Effective Date matters for which notice is required to be given shall be deemed
sufficient if served upon the U.S. Trustee's Office, the Plan Administrator, counsel to the Plan
Administrator, and all persons on the Debtor’s Bankruptcy Rule 2002 service list. Any notice required
or permitted to be provided to the Debtor or the Plan Administrator under the Plan shall be in writing
and served by (a) certified mail, return receipt requested, (b) hand delivery, or (c) overnight delivery
service, to be addressed as follows:

       If to the Plan Administrator:

       David Velde
       Velde Moore, LTD
       1118 Broadway
       Alexandria, MN 56308
       dave@veldemoore.com

       with a copy to:

       Jon Brakke
       Caren Stanley
       Vogel Law Firm
       218 NP Ave.
       Fargo, ND 58107
       jbrakke@vogellaw.com
       cstanley@vogellaw.com

       14.10 Waiver and Estoppel. Each Claimholder and Interestholder shall be deemed to have
waived any right to assert that, by virtue of an agreement made with the Debtor and/or its counsel, the
Creditors’ Committee and/or its counsel, or any other party, its Claim or Equity Interest should be
allowed in a certain amount, in a certain priority, secured or not subordinated if such agreement was not
disclosed in the Plan, the Disclosure Statement or other papers filed with, or orders entered by, the
Bankruptcy Court.




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      Case 17-30112         Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45    Desc Main
                                        Document      Page 65 of 69




            Dated this 22nd 209th day of NovemberApril, 20172018.

                                                 Vanity Shop of Grand Forks, Inc.



                                                 James Bennett, President




Dated        this   22nd    209th     day   of         VOGEL LAW FIRM

NovemberApril, 20172018.
                                                 BY:
                                                       Jon R. Brakke (#03554)
                                                       jbrakke@vogellaw.com
                                                       Caren W. Stanley (#06100)
                                                       cstanley@vogellaw.com
                                                       218 NP Avenue
                                                       PO Box 1389
                                                       Fargo, ND 58107-1389
                                                       Telephone: (701) 237-6983
                                                       Fax: (701) 476-7676
                                                       ATTORNEYS FOR DEBTOR
3069627.5




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Case 17-30112   Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                            Document      Page 66 of 69


                                    EXHIBIT A

                              (Administrative Claims)

                [To be supplied prior to Disclosure Statement Hearing]
Case 17-30112   Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                            Document      Page 67 of 69


                                    EXHIBIT B

            Class 2 (Convenience Class – General Unsecured Claims)

                [To be supplied prior to Disclosure Statement Hearing]
Case 17-30112   Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                            Document      Page 68 of 69


                                    EXHIBIT C

                    (Class 3 - Effective Date Unsecured Claims)

                [To be supplied prior to Disclosure Statement Hearing]
Case 17-30112   Doc 640     Filed 04/09/18 Entered 04/09/18 16:59:45     Desc Main
                            Document      Page 69 of 69


                                    EXHIBIT D

                 (Class 4 - Post-Effective Date Unsecured Claims)

                [To be supplied prior to Disclosure Statement Hearing]
